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                  EXHIBIT G
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                                                                                                       Page 1
                                             IN THE UNITED STATES DISTRICT COURT
                                                      NORTHERN DISTRICT OF ILLINOIS
                                                                     EASTERN DIVISION


                                   EDDIE RAY BRADLEY                                )
                                                                                    )
                                                        Plaintiff,                  )
                                                                                    )
                                     vs.                                            )   No.15-cv-08489
                                                                                    )
                                   VILLAGE OF UNIVERSITY PARK,                      )
                                   et al.,                                          )
                                                                                    )
                                                        Defendants.


                                                          The deposition of
                                   THEAPLISE BROOKS taken under oath VIA ZOOM at
                                   1:19 P.M. on Thursday, July 23, 2020 pursuant
                                   to the Rules of the United States District
                                   Court, Northern District of Illinois, before
                                   Carol M. Siebert-LaMonica, C.S.R. No.
                                   084.001355 in and for the County of Cook and
                                   State of Illinois, pursuant to notice.




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                                                                                                 Page 2
                           1       APPEARANCES:

                           2                 THE MORAN LAW GROUP, by

                           3                 MR. JOHN T. MORAN

                           4                 566 West Lake Street, Suite 101

                           5                 Chicago, Illinois             60661

                           6                 (J.t.m.moran@gmail.com)

                           7                                         And

                           8                 THE KELEHER APPELLATE LAW GROUP, LLC.

                           9                   MR. CHRISTOPHER KELEHER

                         10                    190 South LaSalle Street, Suite 2100

                         11                    Chicago, IL 60603

                         12                    (Ckeleher@appellatelawgroup.com)

                         13                               Appeared on behalf of the plaintiff;

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                                                                                                 Page 3
                           1                 PETERSON, JOHNSON & MURRAY CHICAGO

                           2                 MR. DOMINICK LANZITO

                           3                 200 West Adams, Suite 2125

                           4                 Chicago, IL               60606

                           5                 (Danzito@pjmchicago.com)

                           6                              Appeared on behalf of the defendants.

                           7

                           8       ALSO PRESENT:

                           9                            MR. EDDIE BRADLEY

                         10                             MS. VIVIAN COVINGTON

                         11                                          - - - - -

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                                                                                                         Page 4
                           1                                         THEAPLISE BROOKS,

                           2       called as a witness herein, having been first

                           3       duly sworn, was examined and testified as

                           4       follows:

                           5                                    E X A M I N A T I O N

                           6       BY MR. MORAN:

                           7                              Let the record reflect that the

                           8       parties entered into an agreement to take the

                           9       oral deposition of Trustee Theodore Brooks at

                         10        this date and time remotely under oath via

                         11        court reporter using the Zoom, Z O O M,

                         12        application, is that correct, Mr. Lanzito?

                         13                             MR. LANZITO:        Yes, correct.   I want to

                         14        correct his first name for you, its not

                         15        Theodore it is Theaplise but --

                         16                             MR. MORAN:         Oh, I'm sorry.

                         17                             MR. LANZITO:        Yeah.

                         18                             THE WITNESS:        T H E A P L I S E.

                         19                             MR. MORAN:         We are here pursuant to

                         20        an amended notice of Trustee Theaplise Brooks

                         21        and the -- Trustee Brooks may have brought with

                         22        him some documents or tangible things and gave

                         23        them to his attorney, I don't know if that is

                         24        the case or not.


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                                                                                                       Page 5
                           1                                    Mr. Brooks, did you bring any

                           2       documents or any deposition materials that you

                           3       reviewed?

                           4                            THE WITNESS:       No.

                           5                            MR. MORAN:       Okay.   This is the

                           6       deposition of Mr. Brooks pursuant to the

                           7       Federal Rules of Civil Procedure regarding

                           8       depositions rules 26 through 34.

                           9                 Q.         And my first question, Mr. Brooks, is

                         10        where do you work?

                         11                  A.         Currently a retired Country Club Hills

                         12        police officer.

                         13                  Q.         Okay.        Do you live in Country Club

                         14        Hills?

                         15                  A.         No, I live in the Village of

                         16        University Park.

                         17                  Q.         And how long have you lived in

                         18        University Park, sir?

                         19                  A.         Since 2002.

                         20                  Q.         Are you a member of the Village board

                         21        of University Park?

                         22                  A.         Yes, sir.

                         23                  Q.         And when did you get on the board?

                         24                  A.         May of 2017.


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                                                                                                      Page 6
                           1                 Q.         As a member of the board of the

                           2       Village of University Park, do you also have

                           3       any positions on any commissions, committees,

                           4       et cetera, that you sit on or chair -- are the

                           5       chair of?

                           6                 A.         Currently?

                           7                 Q.         Yes.

                           8                 A.         No.

                           9                 Q.         Okay.        Did you in the past?

                         10                  A.         As a board member or sit on a

                         11        committee?

                         12                  Q.         Well, while you were a board member,

                         13        let's start with that.

                         14                  A.         No.

                         15                  Q.         Okay.        Have you ever sat on a

                         16        commission or a committee for University Park

                         17        before you became a member of the Village

                         18        board?

                         19                  A.         Yes, sir, I did.

                         20                  Q.         And what did you sit on?

                         21                  A.         Actually it was twice.       The first time

                         22        I sat as a commissioner approximately 2009

                         23        around September, I was a commissioner and by

                         24        the board I was elected the vice chair.


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                                                                                                      Page 7
                           1                                    And I was appointed maybe around

                           2       2015 as the chair of the Police & Fire

                           3       Commission after my term was up.

                           4                 Q.         I see.       And when you were a vice chair

                           5       in 2009, what was the organization you were

                           6       vice chair of, was it also the Fire & Police

                           7       Commission?

                           8                 A.         You went out a little bit.

                           9                 Q.         I'm sorry.

                         10                                     You said back in 2009 you were

                         11        Vice-Chairman of a commission, was that the

                         12        same commission, Fire & Police Commission?

                         13                  A.         Yes.

                         14                  Q.         Okay.        As a trustee of University

                         15        Park, have you attended any training seminars

                         16        or classes with reference to employee

                         17        relations?

                         18                  A.         No.

                         19                  Q.         Okay.        Are you still a member of the

                         20        Fire & Police Commission?

                         21                  A.         No.

                         22                  Q.         And that ended sometime in 2015?

                         23                  A.         No, that ended once I won my election,

                         24        you can't hold two positions as such.


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                                                                                                         Page 8
                           1                 Q.         Okay.        And when did you win your

                           2       election?

                           3                 A.         April 4th, 2017.

                           4                 Q.         Got you.       And what is the term of

                           5       office for a trustee?

                           6                 A.         Four years.

                           7                 Q.         So you are getting ready to run again?

                           8                 A.         Maybe.

                           9                 Q.         Maybe.       Okay.   Did you attend any

                         10        training seminars or classes when you were on

                         11        the Fire & Police Commission board?

                         12                  A.         Yes.

                         13                  Q.         And do you recall any of them and

                         14        where they took place?

                         15                  A.         There were several, about six modules,

                         16        I completed them all every fall and spring,

                         17        that's when the training -- but I couldn't tell

                         18        you which exactly training or dates I went, but

                         19        I did complete them all.

                         20                  Q.         And that's every fall and spring

                         21        during your term of office as a trustee?

                         22                  A.         No, as commissioner.

                         23                  Q.         As commissioner.       Okay.   Going back to

                         24        those dates, right?


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                                                                                                       Page 9
                           1                 A.         Right.

                           2                 Q.         Okay.        So 2009 and 2015 until

                           3       April 4th of 2017 or so.

                           4                                    Okay.   What was your duty as the

                           5       chairman or vice-chairman of the Fire & Police

                           6       Commission?

                           7                 A.         The role of the commissioner is to

                           8       hire police officers and hire firefighters.

                           9                                    Also the role is to promote

                         10        police officers to the rank of sergeant civil

                         11        service and actually it is a civil service

                         12        committee, so they -- that was considered civil

                         13        service sergeant.

                         14                                     For the firefighters for the

                         15        promotion of lieutenant and for any

                         16        disciplinary for any civil service officers due

                         17        to their contracts they do have the option to

                         18        come before the commission or go before

                         19        arbitration and that's it.

                         20                  Q.         So they can go to the commission or

                         21        arbitrate their -- whatever their dispute is.

                         22                                     Were you ever a member of a

                         23        police department, if so, where and when?

                         24                  A.         Of as police department?


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                                                                                                    Page 10
                           1                 Q.         Yes.

                           2                 A.         Yes, twice.

                           3                 Q.         Okay.        Where?

                           4                 A.         My first stent was in the City of

                           5       Harvey.

                           6                 Q.         Okay.

                           7                 A.         That would have been about January,

                           8       official academy date was January 13th of 20 --

                           9       excuse me, of 1997.

                         10                                     And then from there I went to --

                         11        I was sworn in to the City of Country Club

                         12        Hills full-time about June 15th, 2004.

                         13                  Q.         Okay.        Any others?

                         14                  A.         No, just two departments full-time.

                         15                  Q.         Okay.        When you were at either Country

                         16        Club Hills or Harvey were you in a police

                         17        union?

                         18                  A.         Yes, in Harvey and Country Club Hills,

                         19        yes.

                         20                  Q.         Country Club Hills, was that the

                         21        teamsters?

                         22                  A.         When I was there it was teamsters.

                         23                  Q.         I think they changed recently.

                         24                  A.         Yes.


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                                                                                                        Page 11
                           1                 Q.         What about Harvey?

                           2                 A.         Harvey, my latter years, because we

                           3       were not union initially when I started, it was

                           4       ICOPs.           Have you ever heard of them?

                           5                 Q.         Yes. I think they took over for the

                           6       teamsters in Country Club Hills?

                           7                 A.         Yes, he gets around.

                           8                 Q.         Yes.         Were you ever on a police union

                           9       board?

                         10                  A.         No.

                         11                  Q.         Were you ever involved in any

                         12        disciplinary hearings while you were a police

                         13        officer when you were a union rep or as a

                         14        party?

                         15                  A.         No.

                         16                  Q.         Were you ever a union rep?

                         17                  A.         No.

                         18                  Q.         Did you receive any specific training

                         19        for police union work?

                         20                  A.         No.

                         21                  Q.         Okay.         Why did you leave Harvey?

                         22                  A.         When?

                         23                  Q.         No.          Why?

                         24                  A.         Well, money man.


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                                                                                                      Page 12
                           1                 Q.         Okay.        That's a good reason.    What

                           2       about Country Club Hills?

                           3                 A.         I was injured.

                           4                 Q.         Okay.        Did the Village of University

                           5       Park ever reimburse you or pay for the cost of

                           6       any seminars or training you have received over

                           7       the years?

                           8                 A.         For the training for the commission,

                           9       yes, the Village was responsible for paying it.

                         10                  Q.         Okay.        Where did you get that

                         11        training, that's for the trusteeship, is that

                         12        right?

                         13                  A.         No.

                         14                  Q.         What was that for, the Fire & Police

                         15        Commission?

                         16                  A.         Yes.

                         17                  Q.         Okay.        And where did that take place?

                         18                             MR. LANZITO:        Object to foundation,

                         19        form.         You can answer.

                         20                             THE WITNESS:       Yes, the training -- I'm

                         21        sorry.

                         22        BY MR. MORAN:

                         23                  Q.         Where did you get training for the

                         24        Fire & Police Commission in University Park?


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                           1                 A.         It was multiple places, but it was

                           2       hosted by the Illinois Fire & Police Commission

                           3       Association.

                           4                 Q.         I see.       And so whatever they charged

                           5       the Village the Village just picked that up,

                           6       right?

                           7                 A.         Correct.

                           8                 Q.         Okay.        When you were at Country Club

                           9       Hills did either the department or the union

                         10        send you out for any training?

                         11                  A.         They did.

                         12                  Q.         Did you get any training in either

                         13        employee relations, contracts or employee

                         14        discipline?

                         15                  A.         I can't recall.       I can't recall.

                         16                  Q.         Okay.        When you were at Country Club

                         17        Hills were you just a line officer, were you a

                         18        sergeant or what was your rank?

                         19                  A.         Patrolman/Youth Officer.

                         20                  Q.         And that was during your entire time

                         21        at Country Club Hills?

                         22                  A.         Correct.

                         23                  Q.         Okay.        When you were with the Fire &

                         24        Police Commission how many disciplinary cases


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                                                                                                      Page 14
                           1       did you hear, if you heard any?

                           2                 A.         Two.

                           3                 Q.         Two.         Okay.   What does the Village

                           4       Manager do, if you know, for University Park?

                           5                 A.         Their role?

                           6                 Q.         Yes.

                           7                 A.         They are supposed to run the

                           8       day-to-day operation of the Village.

                           9                 Q.         Who is the present Village Manager, if

                         10        you recall?

                         11                  A.         The present one?

                         12                  Q.         Yes.

                         13                  A.         Ernestine Beck-Fulgham.

                         14                  Q.         Is that a hyphenated name?

                         15                  A.         Yes, she hyphens it.

                         16                  Q.         Last name is Fulgham?

                         17                  A.         F U L G H A M.

                         18                  Q.         Got you.        Who does hiring and firing

                         19        for the Village during at least while you have

                         20        been trustee?

                         21                             MR. LANZITO:          Objection, form, vague.

                         22        You can answer.

                         23                             THE WITNESS:         For --

                         24


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                                                                                                        Page 15
                           1       BY MR. MORAN:

                           2                 Q.         For civilians?

                           3                 A.         Okay.         That would be the Village

                           4       Manager.

                           5                 Q.         Okay.         And hiring-firing police

                           6       officers, I think you testified earlier, the

                           7       Fire & Police Commission hires police officers

                           8       and firefighters, does it also do the

                           9       terminations or is that someone else?

                         10                  A.         Well, the Police Chief would have to,

                         11        if it is a disciplinary, it would deal with the

                         12        Police Chief and the Village Manager and then

                         13        it depends if the officer takes the option of

                         14        bringing it to the Police and Fire Commission.

                         15                  Q.         I see.         Did -- were you ever contacted

                         16        by any member of the Village board or the

                         17        police department in reference to the

                         18        termination of Eddie Bradley as Chief?

                         19                  A.         No.

                         20                  Q.         Were you ever given a reason why Chief

                         21        Bradley was terminated?

                         22                  A.         No.          No, I wasn't.

                         23                  Q.         Are you one of the people that signed

                         24        Village checks?


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                                                                                                      Page 16
                           1                            MR. LANZITO:        Objection, foundation.

                           2       When?

                           3       BY MR. MORAN:

                           4                 Q.         Oh, as a trustee.

                           5                 A.         Right now I am listed as a signator,

                           6       but I haven't signed one check.                  I said again I

                           7       have not signed one check.

                           8                 Q.         And by that you mean you haven't

                           9       signed any checks since you have been a trustee

                         10        of the Village, right?

                         11                  A.         Nope.

                         12                  Q.         Okay.        Does -- are there any -- I'm

                         13        trying to think of a good word for this,

                         14        spending in any Village department over "X"

                         15        number of dollars needs to be requested and

                         16        reported, is there a figure that requires

                         17        reporting and request while you have been

                         18        trustee?

                         19                  A.         I'm a little lost on your question.

                         20                  Q.         Okay.        Sometimes municipalities

                         21        require a request and a report be made of any

                         22        spending in the department over a specific sum.

                         23                                     My question to you was, is there

                         24        a specific sum that you are aware of in the


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                           1       Village of University Park that requires

                           2       reporting, you know, more than a $1,000, more

                           3       than $5,000, more than $50, that kind of thing?

                           4                            MR. LANZITO:        Objection to the form

                           5       of the question.                  It is vague.   You can answer.

                           6                            THE WITNESS:        Are you asking like if

                           7       a department or --

                           8       BY MR. MORAN:

                           9                 Q.         An individual in a department spends

                         10        over "X" number of dollars, when is the

                         11        reporting triggered and a request for the

                         12        approval, when are those things triggered?

                         13                                     How much money has to be involved

                         14        to trigger those requirements?

                         15                  A.         That is set by the Village Manager.

                         16                  Q.         Do you know what it is, do you happen

                         17        to know what it is?

                         18                  A.         Not at this moment.         She changed it.

                         19                  Q.         Do you know what it was?

                         20                  A.         No, not offhand.

                         21                  Q.         Okay.        Do you know an individual named

                         22        Irma Holloway?

                         23                  A.         Yes.

                         24                  Q.         Who is she?


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                           1                 A.         That should be the lady for IRH.

                           2                 Q.         And what is IRH?

                           3                 A.         It was a financial company that the

                           4       Board of Trustees hired prior to my arrival to

                           5       the board.

                           6                 Q.         And what was -- did she have contracts

                           7       with University Park?

                           8                 A.         I don't know about her, but I know IRH

                           9       had a contract, and I know her to be an

                         10        employee of IRH.

                         11                  Q.         Do you know how much the contracts

                         12        were for and what they were for?

                         13                  A.         I know IRH had a contract that was for

                         14        $599,000 when I came to the board, that was the

                         15        contract I read.

                         16                  Q.         And what were they suppose to do for

                         17        $599,000?

                         18                  A.         They were supposed to be reconciling

                         19        the Village finances and help get things in

                         20        order, audits and TIFS.                There were multiple

                         21        things they were were supposed to be doing with

                         22        the Village finances.

                         23                  Q.         I got you.     Let's see now.

                         24                                     Oh, Mr. Brooks, do you own a


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                           1       business yourself?

                           2                 A.         Do I own a business?

                           3                 Q.         Yes.

                           4                 A.         No.

                           5                 Q.         Okay.        Have you chaired or ever

                           6       operated a not-for-profit?

                           7                 A.         Chaired a not-for-profit?

                           8                 Q.         Yes.

                           9                 A.         Corporation or --

                         10                  Q.         Yes, a corporation, a company that

                         11        does --

                         12                  A.         Like Bill Gates?

                         13                  Q.         Yes, food banks or anything like that?

                         14                  A.         No, no.

                         15                  Q.         Are you in the Will County or the Cook

                         16        County part of University Park?

                         17                  A.         I live in Will County.

                         18                  Q.         So you pay your homeowner's taxes to

                         19        Will County?

                         20                  A.         A lot of it.

                         21                  Q.         Okay.        All right.   To prepare for this

                         22        deposition, how did you go about doing that?

                         23                  A.         I didn't.

                         24                  Q.         Okay.


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                                                                                                    Page 20
                           1                 A.         I didn't.

                           2                 Q.         Did you have occasion to read any

                           3       documents in preparing for the deposition?

                           4                 A.         No.

                           5                 Q.         Okay.        Have you ever read Ed Bradley's

                           6       complaint in this lawsuit?

                           7                 A.         No.

                           8                 Q.         Have you ever discussed the case with

                           9       anyone?

                         10                  A.         No.

                         11                             MR. LANZITO:        Objection to the extent

                         12        it calls for attorney/client communication.

                         13        BY MR. MORAN:

                         14                  Q.         Well, to that extent, yes.

                         15                                     Did you discuss it with someone

                         16        other than your attorney in this case?

                         17                  A.         No.

                         18                  Q.         Okay.        How often -- now the Village

                         19        has a police chief currently, is that correct?

                         20                  A.         Yes.

                         21                  Q.         And who is that?

                         22                  A.         Deborah Wilson.

                         23                  Q.         And often do you as a trustee interact

                         24        with Deborah Wilson?


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                                                                                                        Page 21
                           1                 A.         Depends, depends on the situation.

                           2       Like 4th of July Fireworks, like you would with

                           3       your Police Chief.

                           4                 Q.         Okay.         Do you know Ed Bradley when he

                           5       was Chief of Police?

                           6                 A.         Yes, I did.

                           7                 Q.         And how would you describe your

                           8       relationship with Eddie Bradley when he was

                           9       chief?

                         10                  A.         I've never had a problem with Ed,

                         11        him and me were cordial.                    There was never no

                         12        disrespect.                Never had no problem with Ed

                         13        Bradley.

                         14                  Q.         Did you ever see his contract of

                         15        employment with the Village?

                         16                  A.         No.          I never read his contract.   No.

                         17                  Q.         Okay.         And he was gone before you

                         18        became trustee, is that correct?

                         19                  A.         Yes, he was.

                         20                  Q.         Okay.         Do you happen to know if the

                         21        Village gave Eddie Bradley a pre-termination

                         22        hearing?

                         23                  A.         I didn't even -- I'm going to be

                         24        honest, I didn't even know Ed was gone.


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                                                                                                      Page 22
                           1       I didn't.

                           2                 Q.         Okay.        Mr. Brooks, do you know if the

                           3       Village ever gave Mr. Bradley a pre-termination

                           4       hearing?

                           5                            MR. LANZITO:        Objection, asked and

                           6       answered.              You can answer again.

                           7                            THE WITNESS:       I didn't even know

                           8       Bradley was gone, I didn't, no.

                           9       BY MR. MORAN:

                         10                  Q.         Okay.        Were you ever given any reasons

                         11        why Bradley was fired?

                         12                  A.         No.

                         13                  Q.         Okay.        And you said before you did not

                         14        see his employment contract, is that correct?

                         15                  A.         Right.

                         16                  Q.         Okay.        There is a copy of the

                         17        complaint that's been marked I think as

                         18        Exhibit 2.

                         19                                           (Deposition Exhibit No. 1-10

                         20                                            referred to.)

                         21        BY MR. MORAN:

                         22                  Q.         Okay.        Mr. Brooks, I would like you to

                         23        take a look at Exhibit C to the complaint, let

                         24        me know if you see that.


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                                                                                                    Page 23
                           1                 A.         Would it pop up on the screen or

                           2       something?

                           3                 Q.         Can you see that document, Mr. Brooks?

                           4                 A.         Yes.

                           5                            MR. LANZITO:     Where do you want me to

                           6       go just let me know?

                           7                            MR. MORAN:     I want you to go to

                           8       exhibit C to the complaint, that is the

                           9       employment contract.                I think that's it.

                         10        1 and 2.

                         11                             MR. LANZITO:      There is only two

                         12        pages, it doesn't appear to be the whole

                         13        contract.

                         14                             MR. MORAN:      It is the additional

                         15        contract the Village tendered him after his

                         16        first year.

                         17        BY MR. MORAN:

                         18                  Q.         Mr. Brooks, does that look like the

                         19        type of contract you have seen in the Village

                         20        with police chiefs?

                         21                  A.         Yes, that -- stay right there, go

                         22        right there.                 Stay right there.

                         23                             MR. LANZITO:      I'm going to state for

                         24        the record, it is the first two pages of the


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                                                                                                    Page 24
                           1       contract.

                           2                            THE WITNESS:       That looks like

                           3       something that would have been drafted and sent

                           4       to the board.

                           5       BY MR. MORAN:

                           6                 Q.         So the board would see this, is that

                           7       correct?

                           8                 A.         The way it is written, yes, it looked

                           9       like something that would be sent to the board.

                         10                  Q.         Okay.        Now, is the process when a

                         11        contract with the Police Chief or some other

                         12        high ranking official and they have an

                         13        individual contract, is that sent to the board

                         14        to be put into a resolution by the board?

                         15                             MR. LANZITO:        I'm going to object as

                         16        vague.           Are we talking the board of Police &

                         17        Fire Commission or are we talking the Village

                         18        board?

                         19                             MR. MORAN:        Village board.

                         20                             MR. LANZITO:        To avoid any confusion

                         21        on the record.

                         22                             MR. MORAN:       Sorry.

                         23                             THE WITNESS:       His voice faded out.

                         24        Say it again, John, your voice faded out.


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                                                                                                       Page 25
                           1       BY MR. MORAN:

                           2                 Q.         I'm sorry.       I wanted to know if the

                           3       board adopted contracts such as the police

                           4       chief's via a board resolution or ordinance?

                           5                 A.         Yes, they have.

                           6                 Q.         So it would not surprise you if there

                           7       was an ordinance associated with this contract?

                           8                 A.         No, it wouldn't surprise me.

                           9                 Q.         Okay.        You don't have any direct

                         10        knowledge yourself, is that correct?

                         11                  A.         No, I don't.

                         12                  Q.         Okay.        How did you find out that Ed

                         13        Bradley had been terminated?

                         14                  A.         I was -- some short guy came in named

                         15        John Pate saying he is the chief.

                         16                  Q.         That's how you found out.

                         17                  A.         I'm looking for Bradley and some short

                         18        guy named Pate came in wearing a white shirt

                         19        saying he was the chief.

                         20                  Q.         Do you know if Ed Bradley ever

                         21        investigated any individuals on the police

                         22        force?

                         23                  A.         Investigated what do you mean?

                         24                  Q.         Was looking into their actions?


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                                                                                               Page 26
                           1                 A.         You mean like disciplinary?

                           2                 Q.         Yes. Like they failed to perform their

                           3       job or did something that wasn't kosher?

                           4                 A.         Yes, that's his job, right, that would

                           5       be the chief's job.

                           6                 Q.         Do you have any knowledge of him doing

                           7       that while you were -- to your knowledge, you

                           8       know?

                           9                 A.         The only knowledge I have would be

                         10        what was -- that he shared with me and that was

                         11        a disciplinary for one officer, actually two.

                         12        Two. Two.

                         13                  Q.         Do you recall the names of those two

                         14        officers?

                         15                  A.         One was Shawn Apps, patrolman.

                         16                  Q.         Okay.

                         17                             MR. LANZITO:    Can you spell that for

                         18        the record?

                         19                             THE WITNESS:   Shawn, S H A W N., Apps,

                         20        A P P S.             And the next one was Deborah Wilson.

                         21        BY MR. MORAN:

                         22                  Q.         Deborah Wilson.   Is she the one who is

                         23        the Police Chief now?

                         24                  A.         Correct.


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                                                                                                     Page 27
                           1                 Q.         Was there any discipline arising out

                           2       of either investigation?

                           3                 A.         To my knowledge, Officer Apps resigned

                           4       and a disciplinary -- a long dragged

                           5       disciplinary happened with Wilson.

                           6                 Q.         Was that concluded, the Wilson

                           7       disciplinary hearing?

                           8                 A.         Yes.

                           9                 Q.         And what was the result?

                         10                  A.         The charges were dismissed.

                         11                  Q.         Okay.        Was Bradley still the Police

                         12        Chief when the charges were dismissed?

                         13                  A.         No, he came and testified as a

                         14        civilian.

                         15                  Q.         I see.       Okay.   Do you know if Bradley

                         16        ever investigated members of the village board?

                         17                  A.         No, he didn't relate that to me if he

                         18        did.

                         19                  Q.         Okay.        Do you find it offensive that

                         20        one falsely says, a person failed to perform

                         21        the duties of their office, would that be

                         22        offensive to the person accused of failing to

                         23        perform their duties?

                         24                             MR. LANZITO:         Objection to form, the


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                                                                                                      Page 28
                           1       question.              You can answer.

                           2                            THE WITNESS:        Say it again, John.

                           3       BY MR. MORAN:

                           4                 Q.         Yes.         Let me make sure you get this,

                           5       because these cell phones --

                           6                                    Do you agree that if one falsely

                           7       says a person failed to perform the duties of

                           8       their office that that would be offensive to

                           9       the person accused of not performing their

                         10        duties?

                         11                             MR. LANZITO:         Same objection.   You

                         12        can answer.

                         13                             THE WITNESS:        Would that be for a

                         14        police officer?                   Help me understand when you

                         15        ask that.

                         16        BY MR. MORAN:

                         17                  Q.         Yes.         For a police officer.

                         18                  A.         Are you asking me personally like as

                         19        an officer or if an individual does wrong?

                         20                  Q.         I'm asking you personally as a person

                         21        in this lawsuit, you know, is it -- do you find

                         22        that an offensive statement?

                         23                             MR. LANZITO:         Objection, form of the

                         24        question.              He is not a party. You can answer.


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                                                                                                      Page 29
                           1                            THE WITNESS:       I mean if it is me, if

                           2       you are asking if it is me, I'm a little lost

                           3       when you ask that question.

                           4                                    So ask it again, John.

                           5       BY MR. MORAN:

                           6                 Q.         Okay.        If someone falsely says that a

                           7       police officer failed to perform the duties of

                           8       their office, would that be an offensive

                           9       comment to you, to anyone?

                         10                             MR. LANZITO:        Objection.   You may

                         11        answer.

                         12                             THE WITNESS:       If it is me, as an

                         13        officer, I will be offended.                  If it is me as an

                         14        officer, yes, I would be mad.                  We don't like to

                         15        hear that.

                         16        BY MR. MORAN:

                         17                  Q.         Would you be mad if someone falsely

                         18        said that the person was terminated or fired

                         19        because they lacked integrity?

                         20                             MR. LANZITO:        Same objection.   You

                         21        may answer.

                         22                             THE WITNESS:       Depends on what they

                         23        did.

                         24        BY MR. MORAN:


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                                                                                                      Page 30
                           1                 Q.         Okay.        Well, I'm saying if it is false

                           2       to say they are falsely stating that so and so

                           3       lacked integrity and that's why they got

                           4       fired --

                           5                 A.         Oh.

                           6                 Q.         -- and the whole thing is false?

                           7                 A.         If it is false, and that they lack

                           8       integrity, they must have did something bad,

                           9       that is the way I see it.

                         10                  Q.         Okay.        Well, if the person says that

                         11        Joe Blow lacked integrity and that's why they

                         12        got fired and the person who says this is

                         13        lying, is that offensive?

                         14                             MR. LANZITO:        Objection. You may

                         15        answer.

                         16                             THE WITNESS:       I would say it is.

                         17        BY MR. MORAN:

                         18                  Q.         Okay.        What about if the person

                         19        falsely says that a person was fired because he

                         20        was a criminal, is that offensive?

                         21                  A.         Did he commit the crime before or

                         22        after?

                         23                  Q.         Well, no, again it is a false

                         24        statement.


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                           1                 A.         Oh, it is a false statement that the

                           2       person that they fired is a criminal.

                           3                 Q.         Right.

                           4                 A.         Yes, I would have a problem with it.

                           5                 Q.         Okay.        Did you ever hear of a bank

                           6       called Seaway Bank?

                           7                 A.         Yes.

                           8                 Q.         Where is it located?

                           9                 A.         Oh, now that I don't know.       I mean

                         10        I've heard of Seaway, but that was over 20 some

                         11        years ago.

                         12                  Q.         Okay.        So to your knowledge right now

                         13        does the village or the Mayor have any account

                         14        at Seaway Bank?

                         15                  A.         That I don't know.

                         16                  Q.         Okay.        Do you know if Eddie Bradley

                         17        investigated any accounts at Seaway Bank?

                         18                  A.         No, I don't recall him telling me

                         19        this, no.

                         20                  Q.         Okay.        Do you have any recollection of

                         21        Eddie Bradley investigating some stolen

                         22        vehicles placed in storage by the Village?

                         23                  A.         I do recall him mentioning vehicles

                         24        sitting in Public Works and this was during the


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                                                                                                    Page 32
                           1       Apps investigation maybe.

                           2                 Q.         Got you.       Were you -- did you ever

                           3       hear while Bradley was the chief or shortly

                           4       after he was the chief of a Village trustee who

                           5       was accused of pistol whipping his son?

                           6                 A.         I don't recall right now, no, I can't

                           7       remember.

                           8                 Q.         Okay.        Did Eddie Bradley ever tell you

                           9       that he was asked to remove files regarding

                         10        this trustee's attack on his son?

                         11                  A.         Oh, a trustee and a son?

                         12                  Q.         Yes.

                         13                  A.         Oh, no, I don't.       No, I don't recall.

                         14        That Bradley, correction, let me ask you this,

                         15        ask that question again.

                         16                  Q.         Okay.        Did Bradley ever tell you that

                         17        he was asked to remove files regarding the

                         18        attack, police files regarding the trustee's

                         19        attack on his son?

                         20                  A.         Oh, no, I don't remember that

                         21        conversation, no.

                         22                  Q.         Did Bradley ever express concerns to

                         23        you what he thought were violations of federal

                         24        and state law as well as village policy?


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                                                                                                      Page 33
                           1                            MR. LANZITO:         Objection, form, vague.

                           2       You may answer.

                           3                            THE WITNESS:        In reference to what?

                           4       BY MR. MORAN:

                           5                 Q.         That's the whole point.

                           6                                    Did he mention anything that he

                           7       thought something was a violation of state or

                           8       Village law or Village policy?

                           9                 A.         There were some things that he seen,

                         10        but I can't recall.                   Like I said it was a small

                         11        conversation with the chief.                   So, yes, he

                         12        has --

                         13                  Q.         He mentioned concerns to you but you

                         14        don't recall the specifics?

                         15                  A.         No, I don't, not the specifics.         It

                         16        was long ago.

                         17                  Q.         Yes.         Was -- did you have any -- were

                         18        you on the Fire & Police Commission when Mayor

                         19        Covington was in office?

                         20                  A.         Yes, I was.

                         21                  Q.         And did you have occasion to interact

                         22        with Mayor Covington?

                         23                  A.         When I was on the commission?

                         24                  Q.         Yes.


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                                                                                                      Page 34
                           1                 A.         No, we -- I would say no, the

                           2       commission rarely interacted with the

                           3       politicians.                 Our relationship was with the

                           4       chief and fire chief mainly.

                           5                 Q.         Okay.         How would you describe your

                           6       interactions with Mayor Covington when she was

                           7       Mayor?

                           8                 A.         When she was Mayor?

                           9                 Q.         Yes.

                         10                  A.         I could ask her for something and get

                         11        it with no problem.

                         12                  Q.         Okay.         I think you testified you did

                         13        not review either the complaint or the answer

                         14        in this case, is that correct?

                         15                  A.         Yes, I didn't -- I haven't even looked

                         16        at it.

                         17                  Q.         Did you have anything to do with

                         18        providing information for Answers to

                         19        Interrogatories in this case?

                         20                  A.         No.          No one asked me anything, no.

                         21                  Q.         When Mayor Covington was Mayor, did

                         22        she control or make a lot of the decisions

                         23        effecting higher level employees from the

                         24        Village of University Park?


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                                                                                                     Page 35
                           1                            MR. LANZITO:        Objection, foundation.

                           2       You may answer.

                           3                            THE WITNESS:       That would have been the

                           4       Village Manager.

                           5       BY MR. MORAN:

                           6                 Q.         Okay.        Did you -- now, is it correct

                           7       that you have filed a lawsuit against the

                           8       Village?

                           9                 A.         As of recently, yes.

                         10                  Q.         Who was the attorney for the -- your

                         11        opposing side in this case, in the case that

                         12        you filed, if you know?

                         13                  A.         Of my opposing side?

                         14                  Q.         Yes.

                         15                  A.         My attorney gave me a name.       It is

                         16        supposed to be Steve Denoffo that called my

                         17        attorney, that's all I know.

                         18                  Q.         Okay.

                         19                  A.         It might have been Costodo, I'm not

                         20        for sure.              It was, you know, my attorney was in

                         21        a rush when he gave me -- there was at least

                         22        two conversations, to my understanding, by two

                         23        different attorneys that left a message or

                         24        something of the sort.


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                                                                                                  Page 36
                           1                 Q.         Was that lawsuit filed in Will County

                           2       or Cook County?

                           3                 A.         Will.

                           4                 Q.         Will County?

                           5                 A.         Yes.

                           6                 Q.         And did you just take issue with lack

                           7       of information?

                           8                            MR. LANZITO:    Go ahead.     You can

                           9       finish your question.               Sorry.

                         10        BY MR. MORAN:

                         11                  Q.         The lawsuit basically deals with you

                         12        feel like you did not receive sufficient

                         13        information, is that correct, as a trustee?

                         14                             MR. LANZITO:   To my objection I

                         15        provided to you yesterday regarding your

                         16        inquiry or your attachment or use of this

                         17        exhibit, it has no relevance or bearing on the

                         18        complaint.               I will allow him to answer

                         19        generally what it is about, but if we get into

                         20        the substance I will object and instruct him

                         21        not to answer.

                         22                             MR. MORAN:     That's fine.

                         23                             THE WITNESS:   To answer what you just

                         24        said, yes, I don't want to go no further


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                                                                                                     Page 37
                           1       without my attorney in front of me.

                           2       BY MR. MORAN:

                           3                 Q.         Okay.        And your attorney, is that

                           4       Steven Erdman?

                           5                 A.         Scott.

                           6                 Q.         Scott Erdman?

                           7                 A.         Yes.

                           8                 Q.         Okay.        Just wanted to get that cleared

                           9       up.

                         10                                     Have you ever -- I think you

                         11        testified you have never seen the Answers to

                         12        Interrogatories in this case, is that correct?

                         13                  A.         The answers, no.

                         14                  Q.         And you haven't read any of the

                         15        documents that have been filed in this case, is

                         16        that correct?

                         17                  A.         No, I haven't.

                         18                  Q.         Okay.        You indicated that you knew

                         19        Eddie Bradley, is that right?

                         20                  A.         Yes, as chief.

                         21                  Q.         Okay.        And Mr. Bradley he lives in

                         22        University Park as well, is that correct?

                         23                  A.         Yes, I believe so.

                         24                  Q.         Okay.        Have you personally had any


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                                                                                                        Page 38
                           1       occasion to have any problems with Mr. Bradley

                           2       since the time you came out to University Park?

                           3                 A.         No.          No.   No problems with Ed.

                           4                            MR. MORAN:          And I think that's it for

                           5       my questions. Okay.                     Dominick, you can have

                           6       him.

                           7                            MR. LANZITO:           Nothing based on what

                           8       you just asked.

                           9                            MR. MORAN:          All right.   So you can

                         10        reserve signature, read it over.

                         11                             MR. LANZITO:           We will reserve

                         12        signature and we will just have the errata

                         13        sheets and we will submit them, if there is any

                         14        corrections that need to be made as far as

                         15        typos and names, but I tried to have him spell

                         16        it out.

                         17                             MR. MORAN:          Okay.

                         18                             MR. LANZITO:          We will reserve.

                         19                             MR. MORAN:           Okay.   We are setup for

                         20        tomorrow is it at 1:00 again?

                         21                             MR. LANZITO:           It was at 10, but if

                         22        you want to move it to 1:00 I can ask the

                         23        deponent.

                         24                             MR. MORAN:           Why don't we make it


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                                                                                                   Page 39
                           1       10:30, it is probably going to be pretty quick.

                           2                            MR. LANZITO:      I have it at 10, if you

                           3       want to move it to 10:30.                 Ms. Vivian Covington

                           4       is on, I will just slide it down.

                           5                                    Would that work for you?   It is

                           6       not going to impact the general end time, John.

                           7                            MR. MORAN:     No.

                           8                            MR. LANZITO:     You think we will be

                           9       done by one or two.

                         10                             MR. MORAN:      I would say certainly by

                         11        two.

                         12                             MR. LANZITO:      Vivian, is that going

                         13        to be okay for you?

                         14

                         15                                          (Deposition was concluded at

                         16                                          2:04 P.M.)

                         17                                           -O-o-O-

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                           1       STATE OF ILLINOIS                    )

                           2                                            )   SS:

                           3             COUNTY OF COOK                 )

                           4                              The within and foregoing deposition

                           5       of the aforementioned witness was taken before

                           6       Carol M. Siebert-LaMonica, C.S.R, at the place,

                           7       date and time aforementioned.

                           8                              There were present during the taking

                           9       of the deposition the previously named counsel.

                         10                               The said witness was first duly sworn

                         11        and was then examined upon oral interrogatories;

                         12        the questions and answers were reported in

                         13        shorthand by the undersigned and transcribed

                         14        via computer-aided transcription.

                         15                               The within and foregoing is a true,

                         16        accurate and complete record of all of the

                         17        questions asked of and answers made by the

                         18        forementioned witness at the time and place

                         19        hereinabove referred to.

                         20                                          The signature of the witness was

                         21        not waived and the deposition was submitted

                         22        pursuant to Rules 207 and 211 (d) of the Rules

                         23        of the Supreme Court of Illinois to the

                         24        deponent per copy of the attached letter.


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                                                                                                       Page 41
                           1                              The undersigned is not interested in

                           2       the within case, nor of kin or counsel to any

                           3       of the parties.

                           4                              Witness my official signature in and

                           5       for Cook County Illinois on March 8, 2021.

                           6

                           7

                           8                                         Carol M. Siebert-LaMonica

                           9                                         C.S.R. No. 084.001355

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                                                                                                 Page 42
                                                          C O R R E C T I O N   P A G E

                                                          I made the following changes for the

                                   following reasons:

                                   PAGE LINE              CHANGE:

                                   ____ ____              ___________________________________

                                                            REASON: __________________________

                                   ____ ____              ___________________________________

                                                            REASON: __________________________

                                   ____ ____              __________________________________

                                                            REASON: __________________________

                                   ____ ____              ___________________________________

                                                            REASON: __________________________

                                   ____ ____              ___________________________________

                                                            REASON: __________________________

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                                                            REASON: __________________________

                                   ____ ____              ___________________________________

                                                            REASON: __________________________

                                   ____ ____              ___________________________________

                                                            REASON: __________________________

                                   ____ ____              ___________________________________

                                                            REASON:



                                   (Signed)_______________________________


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                                                                                                  Page 43
                                                                WITNESS CERTIFICATION




                                                                     I hereby certify that I

                                   have read the foregoing transcript of my

                                   deposition consisting of Pages 1 through 46,

                                   inclusive.               Subject to the changes set forth on

                                   the preceding pages, the foregoing is a true

                                   and correct transcript of my deposition taken

                                   on July 23, 2020.




                                                                (Signed) ______________________




                                   SUBSCRIBED AND SWORN TO

                                   Before me this __ day of

                                   _________,2021.




                                   _____________



                                   Notary Public


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                                   March 8, 2021



                                   PETERSON, JOHNSON & MURRAY CHICAGO

                                             MR. DOMINICK LANZITO

                                             200 West Adams, Suite 2125

                                             Chicago, IL               60606

                                             (Danzito@pjmchicago.com)

                                   Re:       BRADLEY V VILLAGE OF UNIVERSITY PARK

                                             Dep:         THEAPLISE BROOKS



                                   Dear MR. LANZITO:

                                             The deposition testimony given on

                                   July 23, 2020 in the above captioned case has

                                   been transcribed, and inasmuch as signature was

                                   not waived, this is to advise that the

                                   deposition will be available in our office for

                                   30 days for reading and signing.

                                             If you choose to read and sign the

                                   deposition at our offices, please call the

                                   undersigned for an appointment.                     Our office


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                                   hours are from 9:00 a.m. to 4:00 p.m., Monday



                                   thru Friday.



                                                          If you choose to make other



                                   arrangements for the reading and signing of the



                                   deposition, please advise us of the



                                   arrangements you have made in writing with 30



                                   days from the date of this letter.




                                                                     Sincerely yours,

                                                                     Carol M. Siebert-LaMonica


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                                                                     I N D E X
                                   Witness:                                            Examination

                                     THEAPLISE BROOKS


                                                        Mr. Moran                             4



                                                                     E X H I B I T S

                                   Number                                                 Page


                                                        No. 1-10                            22




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                  EXHIBIT H
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                                  In the Matter Of:

                          EDDIE RAY BRADLEY
                                          vs.
                  VILLAGE OF UNIVERSITY PARK




                               KEITH GRIFFIN
                                August 25, 2016
Case: 1:15-cv-08489 Document #: 112-2 Filed: 09/29/21 Page 57 of 196 PageID #:1200


        08/25/2016             GRIFFIN· KEITH                                  ·
             EDDIE RAY BRADLEY vs. VILLAGE OF UNIVERSITY PARK

   ·1· · · · · IN THE UNITED STATES DISTRICT COURT
   · · · · · · · ·NORTHERN DISTRICT OF ILLINOIS
   ·2· · · · · · · · · ·EASTERN DIVISION

   ·3· ·EDDIE RAY BRADLEY,

   ·4· · · · · Plaintiff,

   ·5· · ·vs.
   · · · · · · · · · · · · · · · · · No. 1:15-cv-08489
   ·6· ·VILLAGE OF UNIVERSITY PARK,
   · · ·et al.,
   ·7
   · · · · · · Defendants.
   ·8

   ·9

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   12· · · · · The deposition of KEITH GRIFFIN, called

   13· ·for examination pursuant to the Rules of Civil

   14· ·Procedure for the United States District Courts

   15· ·pertaining to the taking of depositions, taken

   16· ·before CHERYL L. SANDECKI, Certified Shorthand

   17· ·Reporter for the State of Illinois, at 309 West

   18· ·Washington Street, Chicago, Illinois, on

   19· ·August 25, 2016, at the hour of 11:19 a.m.

   20

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             EDDIE RAY BRADLEY vs. VILLAGE OF UNIVERSITY PARK

   ·1· ·APPEARANCES:

   ·2· · · · · THE MORAN LAW GROUP, by
   · · · · · · MR. JOHN THOMAS MORAN, JR.
   ·3· · · · · MR. CHRISTOPHER KELEHER
   · · · · · · 309 West Washington Street
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   · · · · · · j.t.m.moran@gmail.com
   ·6
   · · · · · · · · ·Representing the Plaintiff;
   ·7
   · · · · · · PETERSON, JOHNSON & MURRAY, by
   ·8· · · · · MR. PATRICK S. WALL,
   · · · · · · 200 West Adams Street
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   · · · · · · Chicago, Illinois· 60606
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   · · · · · · pwall@pjmlaw.com
   11
   · · · · · · · · ·Representing the Defendants.
   12
   · · ·Also Present:· Mr. Eddie Ray Bradley
   13

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            EDDIE RAY BRADLEY vs. VILLAGE OF UNIVERSITY PARK

   ·1· · · · · · · · · ·(Whereupon, Griffin Deposition

   ·2· · · · · · · · · · Exhibit 1 was marked for

   ·3· · · · · · · · · · identification.)

   ·4· · · ·MR. MORAN:· Let the record reflect that this

   ·5· ·is the deposition of Trustee Kenneth Griffin.

   ·6· · · · · · Is that correct?

   ·7· · · ·THE WITNESS:· Keith Griffin.

   ·8· · · ·MR. MORAN:· Keith Griffin, of the village of

   ·9· ·University Heights.

   10· · · ·THE WITNESS:· University Park.

   11· · · ·MR. MORAN:· University Park, Illinois.· And

   12· ·it's pursuant to the federal rules governing

   13· ·discovery, Rules 21 through 35, in general

   14· · · · · · · ·(Witness administered an oath.)

   15· · · · · · · · · · KEITH GRIFFIN,

   16· ·having been first administered an oath, was

   17· ·examined and testified as follows:

   18· · · · · · · · · · · EXAMINATION

   19· ·BY MR. MORAN:

   20· · · ·Q.· ·Good morning, Mr. Griffin.· How are

   21· ·you?

   22· · · ·A.· ·Good morning.· And you?

   23· · · ·Q.· ·We're good.· I'm going to ask you some

   24· ·questions about a case filed by Eddie Ray



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            EDDIE RAY BRADLEY vs. VILLAGE OF UNIVERSITY PARK

   ·1· ·Bradley against the Village of University Park

   ·2· ·and Vivian Covington, the Mayor.

   ·3· · · · · · And as I understand it, you are a

   ·4· ·trustee of the Village of University Park?

   ·5· · · ·A.· ·Yes, sir.

   ·6· · · ·Q.· ·How long have you been a trustee?

   ·7· · · ·A.· ·Since 2009, May.

   ·8· · · ·Q.· ·And have you been consistently in that

   ·9· ·position since that time?

   10· · · ·A.· ·Yes.

   11· · · ·Q.· ·Have you been deposed before?

   12· · · ·A.· ·No.

   13· · · ·Q.· ·And how many trustees are there for

   14· ·University Park?

   15· · · ·A.· ·Six.

   16· · · ·Q.· ·And to the best of your recollection,

   17· ·who are the president and trustees, apart from

   18· ·yourself?

   19· · · ·A.· ·Trustee Oscar Brown, Trustee Joseph

   20· ·Roudez, Trustee Milton Payton.

   21· · · ·Q.· ·Uh-huh.· P-A-Y?

   22· · · ·A.· ·Yes.

   23· · · · · · Trustee Larry Brown, myself, Keith

   24· ·Griffin, Paula Wilson, six trustees.



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   ·1· · · ·Q.· ·And for the record, do you have any

   ·2· ·knowledge as to whether Larry Brown and Oscar

   ·3· ·Brown are related?

   ·4· · · ·A.· ·They're not related.

   ·5· · · ·Q.· ·Okay.· Now, the trustees, do you meet

   ·6· ·regularly?

   ·7· · · ·A.· ·Yes, sir.

   ·8· · · ·Q.· ·And when do you meet?

   ·9· · · ·A.· ·The second and fourth Tuesdays of each

   10· ·month.· With the -- with the exception of July

   11· ·and August.· I think last year we changed that.

   12· ·We only meet once a month in July and August.

   13· · · ·Q.· ·Okay.· And when you gather for these

   14· ·meetings, who's the presiding officer of the

   15· ·meeting?

   16· · · ·A.· ·The mayor.

   17· · · ·Q.· ·And who is the mayor right now?

   18· · · ·A.· ·Mayor Covington.

   19· · · ·Q.· ·And we are going to ask you some

   20· ·questions about May of 2015.· And was

   21· ·Mayor Covington the mayor in May of 2015?

   22· · · ·A.· ·Yes, sir, she was.

   23· · · ·Q.· ·Now, you've been on the -- do you call

   24· ·it a board or a council?



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   ·1· · · ·A.· ·Board.

   ·2· · · ·Q.· ·You've been on the board now for seven

   ·3· ·years?

   ·4· · · ·A.· ·Yes, sir.

   ·5· · · ·Q.· ·And when you consider -- do you

   ·6· ·consider terminations from employment at your

   ·7· ·board meetings?

   ·8· · · ·MR. WALL:· Objection.· Scope.

   ·9· · · · · · You can go ahead and answer, Trustee.

   10· · · ·THE WITNESS:· Yes, we do.

   11· ·BY MR. MORAN:

   12· · · ·Q.· ·And do you go into special session or

   13· ·executive session?

   14· · · ·A.· ·Executive session.

   15· · · ·Q.· ·And what is the general procedure on

   16· ·terminating a village employee, to your

   17· ·knowledge?

   18· · · ·MR. WALL:· Objection.· Form.· Scope.

   19· ·Relevance.

   20· · · · · · You can go ahead and answer.

   21· · · ·THE WITNESS:· We can -- okay.· We only deal

   22· ·with the village manager.· The board deals

   23· ·with -- our direct hiring and firing is with the

   24· ·village manager.· We can, with concurrence of --



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   ·1· ·the mayor with the concurrence of the board, do

   ·2· ·hire a police chief.· But that's as far as our

   ·3· ·hiring and firing goes.

   ·4· ·BY MR. MORAN:

   ·5· · · ·Q.· ·So you don't deal with termination of

   ·6· ·police chiefs?

   ·7· · · ·A.· ·No.

   ·8· · · ·Q.· ·Were you aware -- are you aware of any

   ·9· ·board meeting which the termination of Eddie

   10· ·Bradley was discussed?

   11· · · ·A.· ·I'm trying to think how -- okay.              I

   12· ·don't know how to answer that.· I'm not trying

   13· ·to be evasive.· I don't know how to answer that.

   14· ·Because at -- at his termination, Trustee Roudez

   15· ·and I was out of town.

   16· · · ·Q.· ·So you weren't in town for any

   17· ·meetings?

   18· · · ·A.· ·Not for that.· I was -- I was at board

   19· ·meetings where the mayor made off-cuff remarks

   20· ·whereas he won't be there long.· I mean, but --

   21· ·but as far as a meeting to terminate him, I

   22· ·wasn't at that meeting.

   23· · · ·Q.· ·How -- if we assume he was terminated

   24· ·in the middle of May of 2015 --



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   ·1· · · ·A.· ·I believe May 18th, is my recollection.

   ·2· · · ·Q.· ·-- had these remarks by the mayor been

   ·3· ·made before that date?

   ·4· · · ·A.· ·Yes, sir.

   ·5· · · ·Q.· ·And they were public remarks?· Or were

   ·6· ·you in closed session?

   ·7· · · ·A.· ·It was public remarks once at Village

   ·8· ·Hall and once before a board meeting.

   ·9· · · ·Q.· ·And what is the -- to the best of your

   10· ·knowledge, who controls the question of

   11· ·terminations in the village while you were a

   12· ·trustee since -- since beginning of 2015?

   13· · · ·MR. WALL:· Objection.· Calls for a legal

   14· ·conclusion and production of privileged

   15· ·materials.

   16· · · · · · You can go ahead and answer.

   17· · · ·THE WITNESS:· Okay.· The village manager does

   18· ·the hiring and firing.· Like I said, the board

   19· ·only deals with the hiring and firing of the

   20· ·village manager.· So the village manager would

   21· ·be the person who would oversee or, I guess,

   22· ·take the initiative to terminate someone.

   23· ·BY MR. MORAN:

   24· · · ·Q.· ·Well, if Mr. Bradley was let go



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   ·1· ·sometime in -- around May 18th, to the end of

   ·2· ·May of 2015, you're aware of the fact that the

   ·3· ·village manager, until May 15th, was

   ·4· ·Mr. Lafayette Linear, correct?

   ·5· · · ·A.· ·Yes.

   ·6· · · ·Q.· ·And Mr. Linear was dismissed sometime

   ·7· ·in the middle of May; is that correct?

   ·8· · · ·A.· ·Yes.

   ·9· · · ·Q.· ·Of 2015?

   10· · · ·A.· ·Yes.

   11· · · ·Q.· ·So who would have been the person to

   12· ·initiate the dismissal of Mr. Bradley?

   13· · · ·A.· ·The village manager.

   14· · · ·Q.· ·But was there a village manager?

   15· · · ·A.· ·I believe it was a gap between that --

   16· ·that.

   17· · · ·Q.· ·And during that gap period, do you have

   18· ·any idea who would have acted to initiate the

   19· ·dismissal of Mr. Bradley?

   20· · · ·A.· ·I'm thinking -- I'm -- like I say, I

   21· ·was out of town.· I'm thinking the mayor -- the

   22· ·mayor would have done it.· They were -- they

   23· ·were putting in place to get Bola in place.

   24· ·Now, whether or not they -- they did the -- got



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   ·1· ·it in time, I don't -- I don't believe so

   ·2· ·because I can't speak for Oscar Brown,

   ·3· ·personally, but he did call us from Vegas -- I

   ·4· ·mean from Chicago.· We were in Vegas, Trustee

   ·5· ·Roudez and I was in Vegas at an international

   ·6· ·shopping centers -- conference of shopping

   ·7· ·centers.

   ·8· · · · · · And he said the procedure was wrong.

   ·9· ·He got up and left the meeting because the

   10· ·procedure was wrong.· He stated that.· He told

   11· ·them that they were doing it wrong.· Because you

   12· ·would have to have a village manager to do the

   13· ·firing, not the mayor and the board.· So that's

   14· ·what he relayed.· I'm just stating what he

   15· ·relayed to me.

   16· · · ·Q.· ·Do you recall whether he indicated it

   17· ·was a closed or open meeting?

   18· · · ·A.· ·It was a closed session.· They came out

   19· ·of closed session into open session to vote.

   20· ·And he said they were doing it wrong.· He told

   21· ·them they were doing it wrong and he got up and

   22· ·left.

   23· · · ·Q.· ·During your tenure on the board of

   24· ·trustees, were you there when a village manager



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   ·1· ·has referred other police chiefs for dismissal?

   ·2· · · ·MR. WALL:· Objection.· Relevance.

   ·3· · · · · · You can go ahead and answer.

   ·4· · · ·THE WITNESS:· No.· Box was acting chief.· No,

   ·5· ·sir.

   ·6· ·BY MR. MORAN:

   ·7· · · ·Q.· ·Does -- was an individual named Mel

   ·8· ·Davis, was he ever a chief of police?

   ·9· · · ·A.· ·Yes, sir.

   10· · · ·Q.· ·Was he dismissed?

   11· · · ·A.· ·No, sir.· He retired.

   12· · · ·Q.· ·He retired?

   13· · · ·A.· ·No, sir.· He retired.

   14· · · ·Q.· ·Do you recall whether or not he was

   15· ·paid a severance by the board?

   16· · · ·MR. WALL:· Objection.· Relevance.

   17· · · · · · You can go ahead and answer, Trustee.

   18· · · ·THE WITNESS:· Wait a minute.· Okay.              I

   19· ·believe so.

   20· ·BY MR. MORAN:

   21· · · ·Q.· ·Okay.· I'm not asking you to guess.

   22· · · ·A.· ·I believe so.

   23· · · ·Q.· ·If you believe so, that's the best as

   24· ·you can do, that's fine.· We're just here to try



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   ·1· ·and get as many facts as we can.· And I

   ·2· ·appreciate your efforts.

   ·3· · · · · · Is it correct that, to your

   ·4· ·understanding, that if one is to dismiss the

   ·5· ·chief of police, the case, the matter is

   ·6· ·supposed to be referred to the board of fire and

   ·7· ·police commissioners?

   ·8· · · ·MR. WALL:· Objection.· Calls for a legal

   ·9· ·conclusion.

   10· · · · · · You can go ahead and answer, Trustee.

   11· · · ·THE WITNESS:· Okay.· Okay.· Say that again,

   12· ·sir.

   13· ·BY MR. MORAN:

   14· · · ·Q.· ·Okay.· The village manager says he

   15· ·wants to dismiss a police chief, the referral is

   16· ·made to the board of fire and police

   17· ·commissioners?

   18· · · ·MR. WALL:· Same objection.

   19· · · · · · You can go ahead and answer, Trustee.

   20· · · ·THE WITNESS:· Okay.· I'm not sure on that.                I

   21· ·believe -- I believe it's just brought to the

   22· ·board.

   23· · · · · · If they want to get rid of a police

   24· ·chief?



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   ·1· ·BY MR. MORAN:

   ·2· · · ·Q.· ·A police chief, yeah.

   ·3· · · ·A.· ·Yeah.· I believe it's brought to the

   ·4· ·board.· I believe.

   ·5· · · ·Q.· ·Okay.· Have you -- by the way, I was

   ·6· ·going to ask you this before and we marked it as

   ·7· ·an exhibit.

   ·8· · · · · · Have you seen the complaint in this

   ·9· ·case?

   10· · · ·A.· ·No, sir.

   11· · · ·Q.· ·I'm just going to give you -- have you

   12· ·ever seen this document before?· Take your time.

   13· · · ·MR. MORAN:· Will you stipulate he did?

   14· · · ·MR. WALL:· I don't know.

   15· · · ·THE WITNESS:· I'm going to say no, because --

   16· ·BY MR. MORAN:

   17· · · ·Q.· ·Take your time.

   18· · · ·A.· ·One of the complaints I have against

   19· ·Bola Delano -- or De Lano or whatever her name

   20· ·is -- was that when we got back from Vegas,

   21· ·Trustee Roudez and I, we asked specifically, you

   22· ·know, about economic development and we asked

   23· ·about lawsuits.· So we asked, on numerous

   24· ·occasions, what's going on in the village,



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   ·1· ·what's happening, trying to be, I guess --

   ·2· ·trying to come to a working relationship because

   ·3· ·I didn't like the way she was brought in.

   ·4· · · · · · That being said, we asked about

   ·5· ·different suits, told us don't worry about it,

   ·6· ·she is handling it.· She would never give us any

   ·7· ·information, was never brought up-to-date on any

   ·8· ·economic development or any lawsuits, and that

   ·9· ·was one of my problems with her.

   10· · · ·Q.· ·Let me clarify something,

   11· ·Trustee Griffin, because you've mentioned Bola

   12· ·Delano.· Is this -- did this person succeed

   13· ·Mr. Bradley as chief of police?

   14· · · ·A.· ·No, sir.· She's -- she's the village

   15· ·manager that's -- that's brought in between,

   16· ·that gap between he was dismissed and Linear was

   17· ·let go.

   18· · · ·Q.· ·Okay.· So she came in as village

   19· ·manager?

   20· · · ·A.· ·Village manager, yes.

   21· · · ·Q.· ·Okay.· So -- I gotcha.

   22· · · ·A.· ·So I didn't see this.

   23· · · ·Q.· ·Okay.· Well, you can keep that.

   24· · · · · · Do you know whether or not there was



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   ·1· ·any posting or notice to you of this meeting

   ·2· ·where Mr. Bradley was terminated?

   ·3· · · ·A.· ·No, sir.

   ·4· · · ·Q.· ·So you are unaware of any notice at

   ·5· ·all?

   ·6· · · ·A.· ·No, sir, I'm not aware of any notice.

   ·7· · · ·Q.· ·Are you aware of any communication by

   ·8· ·the board of trustees to Mr. Bradley listing why

   ·9· ·he was terminated?

   10· · · ·A.· ·No, sir.

   11· · · ·Q.· ·And what is your understanding as to

   12· ·why he was terminated?

   13· · · ·MR. WALL:· Objection.· Form.· Calls for

   14· ·hearsay.

   15· · · · · · You can go ahead and answer to the best

   16· ·of your knowledge.

   17· · · ·THE WITNESS:· Wow.· How much time do you

   18· ·have?

   19· ·BY MR. MORAN:

   20· · · ·Q.· ·As much as you want.

   21· · · ·A.· ·Okay.· I'm not saying this because he

   22· ·is here, you know.· If he wasn't here, I'd say

   23· ·the same thing.· I like -- I like the job he

   24· ·did.· I like his professionalism.· Our -- our



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   ·1· ·police department was -- was in shambles.· In

   ·2· ·his time he was there, he straightened it out.

   ·3· ·He told the officers what he wanted, "This is

   ·4· ·what I want, this is how I want it done."· And

   ·5· ·things were getting done.

   ·6· · · · · · I remember a situation with him and

   ·7· ·Mayor Covington.· She wanted him to chauffeur

   ·8· ·her around.· And Chief Bradley stated, "That's

   ·9· ·not my job.· You need to get a chauffeur."

   10· · · · · · Which me and other board members

   11· ·concurred, "Hey, you know, that's not his job to

   12· ·be your chauffeur.· His job is to oversee the

   13· ·department of police and manage the police

   14· ·department, not to be your private chauffeur."

   15· · · · · · She got pissed with that, excuse my

   16· ·language.· She got peeved with that.· And I

   17· ·thought -- I thought that was -- that was wrong.

   18· ·You know, it's his job to be a police officer,

   19· ·not a chauffeur.· She didn't like that.

   20· · · ·Q.· ·When did that little interaction take

   21· ·place.· Before his dismissal?

   22· · · ·A.· ·Oh god.· Yes, that was -- that must

   23· ·have been in March or April because it was -- it

   24· ·was something -- it was a conference or



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   ·1· ·something we were going to.· I can't remember.

   ·2· · · ·Q.· ·In 2015?

   ·3· · · ·A.· ·Yes, sir.

   ·4· · · ·Q.· ·So it would be fair to say that, at

   ·5· ·least as to terminating Mr. Bradley, the mayor

   ·6· ·was making decisions?

   ·7· · · ·A.· ·Yes.

   ·8· · · ·MR. WALL:· Objection as to form.

   ·9· · · · · · You can go ahead and answer.

   10· · · ·THE WITNESS:· Yes.

   11· ·BY MR. MORAN:

   12· · · ·Q.· ·Let me ask you a question that goes

   13· ·back a little bit.· First of all, let me ask

   14· ·you:· Who was the village attorney in May of

   15· ·2015?

   16· · · ·A.· ·Montana -- Montana & Welch or Walsh.

   17· · · ·Q.· ·And did you know a woman named Felicia

   18· ·Frazier?

   19· · · ·A.· ·Yes.

   20· · · ·Q.· ·Did she act as --

   21· · · ·A.· ·Nice lady.

   22· · · ·Q.· ·Did she act as a village attorney at

   23· ·some time in April or May of 2015?· Let me

   24· ·expand it to April, May or June of 2015, if you



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   ·1· ·know?· If you don't know, just let us know.

   ·2· · · ·A.· ·No, I think Welch was still there.

   ·3· ·Okay.· Montana -- Montana & Welch was there --

   ·4· ·I'm trying get the dates straight.· Okay.· They

   ·5· ·were the -- okay.

   ·6· · · · · · Odelson & Sterk was there before.· The

   ·7· ·mayor got control of the board and got rid of

   ·8· ·Odelson & Sterk.· When we ran and the board --

   ·9· ·we got control of the board -- that means

   10· ·myself, Trustee Roudez, Trustee Oscar Brown and

   11· ·Liz Williamson, who is no longer on the board,

   12· ·got on board -- we brought -- we had Montana &

   13· ·Welch.

   14· · · · · · The mayor won -- I can't remember --

   15· ·then they brought on Montana -- Montana & Welch.

   16· · · ·Q.· ·Let me just clarify:· Did you mean that

   17· ·you brought on -- your group brought on

   18· ·Odelson & Sterk --

   19· · · ·A.· ·Yes.

   20· · · ·Q.· ·-- and the mayor replaced it with --

   21· · · ·A.· ·Yeah.

   22· · · ·Q.· ·Okay.

   23· · · ·A.· ·Yeah.· And we was able to get -- we was

   24· ·able to bring them, even with the mayor getting



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   ·1· ·on and gotten rid of Odelson & Sterk, we worked

   ·2· ·with Trustee Payton to bring Odelson & Sterk

   ·3· ·back.· So Odelson & Sterk have been back -- wait

   ·4· ·a minute -- it must have been September,

   ·5· ·September or October of last year, I believe.

   ·6· ·The reason -- I'm trying to think.· I didn't

   ·7· ·know you were going to ask this.· That's why I'm

   ·8· ·trying to -- trying to think.

   ·9· · · · · · So I'm thinking the time that you're

   10· ·asking, Montana & Welch was there.

   11· · · ·Q.· ·Okay.· To the best of your

   12· ·recollection?

   13· · · ·A.· ·Yes.

   14· · · ·Q.· ·Now, did you ever go with Chief Bradley

   15· ·to meet with an assistant state's attorney in

   16· ·Will County?

   17· · · ·A.· ·Yes, we did.

   18· · · ·Q.· ·And was that assistant state's attorney

   19· ·John Long?

   20· · · ·A.· ·Yes.

   21· · · ·Q.· ·And was that before Mr. Bradley was

   22· ·terminated as chief?

   23· · · ·A.· ·Yes, absolutely.

   24· · · ·Q.· ·And he was in the position of chief of



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   ·1· ·police when you went to this meeting with

   ·2· ·John Long?

   ·3· · · ·A.· ·Yes, sir.

   ·4· · · ·Q.· ·Do you recall any of the conversation?

   ·5· · · · · · Let me just ask you this:· Was Trustee

   ·6· ·Roudez with you?

   ·7· · · ·A.· ·Yes, sir.

   ·8· · · ·Q.· ·When you met with John Long, was there

   ·9· ·anybody else there besides yourself, the

   10· ·chief -- Bradley -- and Trustee Roudez, and

   11· ·Mr. Long?

   12· · · ·A.· ·No, sir, just us.

   13· · · ·Q.· ·Okay.· And what did you-all discuss?

   14· · · ·A.· ·Oh god.

   15· · · ·Q.· ·If you -- you know, to the best of your

   16· ·recollection.

   17· · · ·A.· ·Wait a minute --

   18· · · ·MR. WALL:· Objection.· Relevance.

   19· · · · · · Go ahead and answer.

   20· · · ·THE WITNESS:· I think it was March -- I think

   21· ·it was March of 2015.

   22· ·BY MR. MORAN:

   23· · · ·Q.· ·Uh-huh.

   24· · · ·A.· ·March of 2015.



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   ·1· · · ·Q.· ·And do you recall what the meeting was

   ·2· ·about?

   ·3· · · ·A.· ·It was about corruption in the police

   ·4· ·department.· He had files, deposition of police

   ·5· ·officers.

   ·6· · · ·Q.· ·This is the Village of University Park?

   ·7· · · ·A.· ·Village of University Park.· Some have

   ·8· ·left and went to other departments, some are

   ·9· ·still there.· Misappropriation of funds, theft

   10· ·of vehicles, and a theft of monies, the buying

   11· ·of tires, over $20,000 worth of tires, which no

   12· ·one knows where they are.

   13· · · ·Q.· ·Yeah.

   14· · · ·A.· ·In two years, you buy $20,000 worth of

   15· ·tires.· Right.

   16· · · ·Q.· ·And did the chief mention that he had

   17· ·personally looked at the tires in the police

   18· ·department fleet and they were all bald?

   19· · · ·A.· ·They were all bald.· They were all

   20· ·bald.

   21· · · ·Q.· ·Now, did you -- did you trustees ever

   22· ·receive any response from John Long concerning

   23· ·the information that you provided him at this

   24· ·meeting?



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   ·1· · · ·A.· ·No, sir.· He hasn't gotten back to us.

   ·2· ·He said he's still doing an investigation.

   ·3· · · ·Q.· ·And how long ago did he say he was

   ·4· ·still investigating?

   ·5· · · ·A.· ·I called down, personally, May of this

   ·6· ·year.· I called down May of '16.

   ·7· · · ·Q.· ·Did you speak to John himself?

   ·8· · · ·A.· ·Yes.

   ·9· · · ·Q.· ·Do you recall -- move on to a slightly

   10· ·different subject here.

   11· · · · · · Do you recall meeting with Ed Bradley

   12· ·in the winter of 2015 concerning him coming back

   13· ·to work?

   14· · · ·A.· ·Yeah.

   15· · · ·Q.· ·And who attended that meeting?

   16· · · ·A.· ·Myself and Joe Roudez, I believe.

   17· · · ·Q.· ·And the chief?

   18· · · ·A.· ·Yes.

   19· · · ·MR. WALL:· You mean the plaintiff?

   20· · · ·MR. MORAN:· Plaintiff.

   21· · · ·MR. WALL:· Okay.

   22· ·BY MR. MORAN:

   23· · · ·Q.· ·Were you aware at that time that he

   24· ·still had time left on his contract with the



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   ·1· ·village, as chief?· That it had not expired?

   ·2· · · ·MR. WALL:· Objection.· Relevance.

   ·3· · · · · · You can go ahead and answer.

   ·4· · · ·THE WITNESS:· Yes.

   ·5· ·BY MR. MORAN:

   ·6· · · ·Q.· ·Yes, he did have time left on his

   ·7· ·contract?

   ·8· · · ·A.· ·Yes.

   ·9· · · ·Q.· ·In fact, it doesn't -- it ends the last

   10· ·day of December of 2016, is that the best of

   11· ·your knowledge?

   12· · · ·A.· ·Yes.

   13· · · ·Q.· ·And was there any resolution of the

   14· ·issue?· What was discussed?· It's another way of

   15· ·asking the same question.

   16· · · ·MR. WALL:· Objection.· Relevance.· Asked and

   17· ·answered.

   18· · · · · · You can go ahead and answer.

   19· · · ·THE WITNESS:· I was -- was just asked how

   20· ·is -- how is he doing, how is the suit

   21· ·progressing.· And that hoping we can get

   22· ·together and straighten things out, straighten

   23· ·out -- straighten out the matter for the

   24· ·situation.



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   ·1· ·BY MR. MORAN:

   ·2· · · ·Q.· ·Now, to do that, would it be fair to

   ·3· ·say you'd have to get four votes, put together a

   ·4· ·coalition?

   ·5· · · ·A.· ·Yes, we need one more.

   ·6· · · ·Q.· ·Right now, it's three/three and the

   ·7· ·mayor, right?

   ·8· · · ·A.· ·Yes, sir.

   ·9· · · ·Q.· ·I just want to be clear about that.

   10· · · · · · So you said one of -- Paula Wilson is

   11· ·one of the trustees?

   12· · · ·A.· ·Yeah, she's one of them.

   13· · · ·Q.· ·Is she related to Officer Wilson,

   14· ·Commander Wilson?

   15· · · ·A.· ·Not that I know of.

   16· · · ·Q.· ·Okay.· I'm just trying to chase down

   17· ·loose ends.

   18· · · · · · So after this meeting, it wasn't

   19· ·resolved because you didn't have four votes; is

   20· ·that right?

   21· · · ·A.· ·Yeah.· Yes.

   22· · · ·Q.· ·Now, since that time, have you been

   23· ·informed of any ongoing investigations into

   24· ·either the mayor or the village?



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   ·1· · · ·MR. WALL:· Objection.· Relevance.

   ·2· · · ·THE WITNESS:· You mean --

   ·3· ·BY MR. MORAN:

   ·4· · · ·Q.· ·Investigations of the mayor and the

   ·5· ·village?

   ·6· · · ·A.· ·Yes.

   ·7· · · ·MR. WALL:· Objection.· Relevance.· Hold on a

   ·8· ·second.

   ·9· · · · · · John, do you have a second, John and

   10· ·Chris?

   11· · · · · · · · · ·(Whereupon, a recess was had at

   12· · · · · · · · · · 11:47 a.m., after which the

   13· · · · · · · · · · deposition was resumed at

   14· · · · · · · · · · 11:49 a.m. as follows:)

   15· ·BY MR. MORAN:

   16· · · ·Q.· ·Get back to the question, who made this

   17· ·inquiry of you or who contacted you, if you

   18· ·recall, about the investigation?

   19· · · ·MR. WALL:· Same objections.· Calls for

   20· ·hearsay.

   21· · · · · · You can go ahead and answer.

   22· · · ·THE WITNESS:· Who called me?

   23· ·BY MR. MORAN:

   24· · · ·Q.· ·Yeah, did somebody call you?



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   ·1· · · ·A.· ·No, no one called me.

   ·2· · · ·Q.· ·So you're just aware through the

   ·3· ·grapevine that something is going on?

   ·4· · · ·A.· ·Yes.

   ·5· · · ·Q.· ·Do you have any idea who the

   ·6· ·investigating agency is, if you know?

   ·7· · · ·MR. WALL:· Objection.· Form.· Calls for

   ·8· ·speculation.· He already said he -- through the

   ·9· ·grapevine.

   10· · · ·THE WITNESS:· Federal government and the

   11· ·state's attorney.

   12· ·BY MR. MORAN:

   13· · · ·Q.· ·Do you know what county state's

   14· ·attorney?

   15· · · ·A.· ·Will County state's attorney and the

   16· ·federal government.

   17· · · ·Q.· ·Would you happen to know if this

   18· ·involves credit cards or something of that

   19· ·nature?

   20· · · ·A.· ·Okay.· I'm not sure.

   21· · · ·MR. WALL:· Same objection.

   22· · · · · · You can go ahead.

   23· · · ·THE WITNESS:· I'm not sure on that.

   24



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   ·1· ·BY MR. MORAN:

   ·2· · · ·Q.· ·Okay.· If you don't know, you don't

   ·3· ·know.

   ·4· · · · · · Was there any mention of the mayor

   ·5· ·maintaining a bank account in Indiana?

   ·6· · · ·MR. WALL:· Same objections.

   ·7· · · · · · You can go ahead and answer.

   ·8· · · · · · Form and foundation.

   ·9· · · ·THE WITNESS:· I heard of that.

   10· ·BY MR. MORAN:

   11· · · ·Q.· ·You just heard?

   12· · · ·A.· ·Yeah.

   13· · · ·Q.· ·But you don't know whether there's an

   14· ·investigating agency or anything else?

   15· · · ·A.· ·I know that's being investigated.

   16· · · ·Q.· ·Okay.· Same people you think?

   17· · · ·A.· ·It is.

   18· · · ·MR. WALL:· Objection.· Calls for speculation.

   19· · · ·MR. MORAN:· Okay.· Why don't we take five

   20· ·minutes and then we will have two or three

   21· ·questions and then I'll turn him over to you.

   22

   23

   24



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   ·1· · · · · · · · · ·(Whereupon, a recess was had at

   ·2· · · · · · · · · · 11:51 a.m., after which the

   ·3· · · · · · · · · · deposition was resumed at

   ·4· · · · · · · · · · 11:56 a.m. as follows:)

   ·5· ·BY MR. MORAN:

   ·6· · · ·Q.· ·Trustee Griffin, you understand you are

   ·7· ·still under oath.· We just took a break.

   ·8· · · ·A.· ·Yes, sir.

   ·9· · · ·Q.· ·I mentioned earlier, Mel Davis had been

   10· ·a prior chief of police?

   11· · · ·A.· ·Yes, sir.

   12· · · ·Q.· ·Did he, to your knowledge, did he have

   13· ·a contract with the village?

   14· · · ·MR. WALL:· Objection.· Relevance.

   15· · · · · · You can go ahead and answer.

   16· · · ·THE WITNESS:· No, sir, I don't believe he had

   17· ·a contract.

   18· ·BY MR. MORAN:

   19· · · ·Q.· ·Are you aware of any inquiry or

   20· ·controversy regarding the mayor's use of village

   21· ·credit cards by the village board?

   22· · · ·MR. WALL:· Objection.· Asked and answered.

   23· ·Form.

   24· · · · · · You can go ahead and answer.



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   ·1· · · ·THE WITNESS:· Yes.· The board asked about the

   ·2· ·use of credit cards.

   ·3· ·BY MR. MORAN:

   ·4· · · ·Q.· ·Do you recall when they asked or have

   ·5· ·they asked many times?

   ·6· · · ·A.· ·Many times.

   ·7· · · ·Q.· ·Was that issue raised before the chief

   ·8· ·was dismissed?

   ·9· · · ·MR. WALL:· Objection.· Scope.

   10· · · · · · You can go ahead and answer.

   11· · · ·THE WITNESS:· Yes.

   12· ·BY MR. MORAN:

   13· · · ·Q.· ·Was it raised before Mr. Linear was

   14· ·dismissed?

   15· · · ·MR. WALL:· Same objection.

   16· · · ·THE WITNESS:· Yes.

   17· ·BY MR. MORAN:

   18· · · ·Q.· ·Was there -- has there been a

   19· ·resolution of the credit card issue that the

   20· ·board raised?

   21· · · ·MR. WALL:· Same objection.

   22· · · · · · Go ahead and answer.

   23· · · ·THE WITNESS:· This -- this village manager

   24· ·that we have now, she cancelled the credit card.



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   ·1· ·BY MR. MORAN:

   ·2· · · ·Q.· ·And who is the present village manager

   ·3· ·now?

   ·4· · · ·A.· ·Johnna Townsend.

   ·5· · · ·Q.· ·That's Johnna?

   ·6· · · ·A.· ·Yes, sir.

   ·7· · · ·Q.· ·J-O-N-N-A [sic]?

   ·8· · · ·A.· ·Yes, sir.

   ·9· · · ·Q.· ·Townsend?

   10· · · ·A.· ·Yes, sir.

   11· · · ·Q.· ·T-O-W-N-S-E-N-D?

   12· · · ·A.· ·Yes.

   13· · · ·Q.· ·Got it.· Okay.

   14· · · · · · Now, earlier in the deposition, you

   15· ·mentioned a woman -- I assume it's a woman,

   16· ·maybe it's not -- Bola?

   17· · · ·A.· ·It's a woman, if you want to call it.

   18· · · ·Q.· ·Delano?

   19· · · ·A.· ·Yes.

   20· · · ·Q.· ·Do you know how to spell that last

   21· ·name?

   22· · · ·A.· ·I -- no.

   23· · · ·Q.· ·You said you didn't like the way that

   24· ·she was brought in as village manager.· Do you



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   ·1· ·recall saying that?

   ·2· · · ·A.· ·That's correct.

   ·3· · · ·Q.· ·What didn't you like about it?

   ·4· · · ·A.· ·The fact --

   ·5· · · ·MR. WALL:· Objection.· Relevance.

   ·6· · · · · · Go ahead and answer.

   ·7· · · ·THE WITNESS:· The fact that they waited to --

   ·8· ·for two trustees to go out of town to dismiss

   ·9· ·the present village manager, bring in another

   10· ·village manager, get rid of the police chief and

   11· ·to not come before the board to discuss

   12· ·anything.· We didn't know who it was, what it

   13· ·was or anything until after we got back.

   14· · · · · · Trustee Roudez and I got back, I

   15· ·believe, if my math serves me correct, Sunday

   16· ·afternoon.· So we didn't get a chance to see

   17· ·Ebola until -- I believe we saw her that

   18· ·following Tuesday.· And I didn't like the way

   19· ·that was done.· I mean, we had no notice,

   20· ·nothing on her.· No -- no paperwork or anything,

   21· ·resumé or anything.· We didn't see it.

   22· ·BY MR. MORAN:

   23· · · ·Q.· ·And to that extent, you're talking

   24· ·about hiring Bola as the village manager, right?



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   ·1· · · ·A.· ·That is correct.

   ·2· · · ·MR. WALL:· Objection.· Relevance.

   ·3· · · · · · You can go ahead.

   ·4· ·BY MR. MORAN:

   ·5· · · ·Q.· ·That was the job of the village

   ·6· ·board --

   ·7· · · ·A.· ·Right.

   ·8· · · ·Q.· ·-- as you testified earlier?

   ·9· · · ·A.· ·Absolutely.

   10· · · ·Q.· ·And the two trustees that were out of

   11· ·town were yourself and Mr. Roudez?

   12· · · ·A.· ·Correct.

   13· · · ·Q.· ·And that's two of the three minority on

   14· ·the village board?

   15· · · ·MR. WALL:· Objection.· Form.

   16· · · ·THE WITNESS:· Yes.

   17· · · ·MR. WALL:· It's equal, as he testified

   18· ·earlier.

   19· ·BY MR. MORAN:

   20· · · ·Q.· ·You've testified that the mayor was

   21· ·upset that Mr. Bradley refused to chauffeur her

   22· ·around?

   23· · · ·A.· ·That is correct.

   24· · · ·Q.· ·Do you recall what she said, if



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   ·1· ·anything, and where she said it?

   ·2· · · ·MR. WALL:· Objection.· Foundation.

   ·3· · · · · · You can go ahead.

   ·4· · · ·THE WITNESS:· "It's your job to be available

   ·5· ·to assist your mayor in any way or form."

   ·6· ·BY MR. MORAN:

   ·7· · · ·Q.· ·That's what she told him?

   ·8· · · ·A.· ·Yeah.

   ·9· · · ·Q.· ·Did you hear her say that?

   10· · · ·A.· ·Yes.

   11· · · ·Q.· ·Do you recall where she said that?

   12· · · ·A.· ·This was right after a board meeting.

   13· · · ·Q.· ·Do you recall what month and year?

   14· · · ·A.· ·This was in -- it was March or April of

   15· ·'15.· There was some meetings -- we -- this

   16· ·particular month, we had about two or three

   17· ·conferences that we'd be going to.· You know, we

   18· ·have the South Suburban Mayors & Managers and

   19· ·then there's other stuff that we'd be going to.

   20· ·Then, I believe, there was something at the

   21· ·Tinley Park Convention Center.· I don't

   22· ·remember.· But I know it was something.

   23· · · ·Q.· ·She said it there, you think?

   24· · · ·A.· ·No.· This was at -- this was at --



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   ·1· · · ·Q.· ·Board meeting?

   ·2· · · ·A.· ·No, probably before a board meeting.

   ·3· · · ·Q.· ·Did she say --

   ·4· · · ·A.· ·It was at the village.· It was at the

   ·5· ·village.

   ·6· · · ·Q.· ·Did she say that directly to Ed Bradley

   ·7· ·or you just heard her say it to other people?

   ·8· · · ·A.· ·It was to other people.

   ·9· · · ·Q.· ·Now, earlier you mentioned that Oscar

   10· ·Brown, Trustee Brown called you when you were in

   11· ·Las Vegas; is that right?

   12· · · ·A.· ·Yes.

   13· · · ·Q.· ·Was that a conference call to you and

   14· ·Joe Roudez?

   15· · · ·A.· ·Yes.

   16· · · ·Q.· ·Do you recall what you told Oscar Brown

   17· ·during the call?

   18· · · ·A.· ·Joe and -- Joe and I was at the

   19· ·conference.· We was at the hotel, if I remember.

   20· ·Joe called me.· I went downstairs.· He was

   21· ·saying that Oscar is going to be calling in

   22· ·about three to five minutes.· We got the call.

   23· · · · · · He let us -- Oscar Brown, Trustee Oscar

   24· ·Brown let us know that Lafayette had been



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   ·1· ·terminated.· They also got rid of Chief Bradley,

   ·2· ·also.· And that he was trying to tell them that

   ·3· ·they were doing it wrong, they were going about

   ·4· ·it in the wrong procedure and the wrong way,

   ·5· ·those was his words.

   ·6· · · · · · And he said they didn't want to hear

   ·7· ·nothing about it.· He said one trustee said "So

   ·8· ·so-and-so what?"· But "so-and-so" wasn't the

   ·9· ·word.· She is a lady.· So that's why.

   10· · · · · · But -- and so before they was taking --

   11· ·before they were going to take the vote, Oscar

   12· ·Brown said he got up and left out and told them,

   13· ·he read -- oh, he read case law.· He read the

   14· ·state statute or something how to go about it.

   15· ·And they said they didn't give a...

   16· · · ·Q.· ·A hoot?

   17· · · ·A.· ·-- a S-H-I-T about it and they got up

   18· ·and left -- I'm sorry -- he got up and left.

   19· · · ·Q.· ·So he left the meeting.

   20· · · · · · Do you know -- do you recall what, if

   21· ·anything, Joe Roudez said during the call?

   22· · · ·A.· ·He was asking questions about what went

   23· ·on and who was there.· And they can't do that

   24· ·and Oscar told him, repeated back, yes, they did



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   ·1· ·it.· And he said he didn't want to be -- Oscar

   ·2· ·Brown stated he didn't want to be caught up in a

   ·3· ·suit, so he got up and left.

   ·4· · · ·Q.· ·Was there any -- how did the call end?

   ·5· ·Did you have any plan of action?

   ·6· · · ·A.· ·Well, we don't have that vote.· So we

   ·7· ·said we could talk about it when we get back.

   ·8· ·When we got back, we tried to talk to the other

   ·9· ·trustees and to -- but -- but to no avail.

   10· · · ·Q.· ·Who -- do you recall what trustee said

   11· ·"Who gives a shit"?

   12· · · ·MR. WALL:· Objection.· Calls for hearsay.

   13· · · ·THE WITNESS:· Okay.· Now, I'm just repeating

   14· ·what Oscar said, I don't know.

   15· ·BY MR. MORAN:

   16· · · ·Q.· ·Yeah.

   17· · · ·A.· ·I believe he said it was Payton,

   18· ·Trustee Payton.

   19· ·BY MR. MORAN:

   20· · · ·Q.· ·Okay.· And so what about who said "So

   21· ·firing what?"

   22· · · ·MR. WALL:· So effing.

   23· · · ·MR. MORAN:· Okay.· So "blanking."

   24· ·BY MR. MORAN:



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   ·1· · · ·Q.· ·"So effing what?"· Who said that?

   ·2· · · ·A.· ·Payton.· That's what -- that's what he

   ·3· ·said to me.· So I don't know.

   ·4· · · ·Q.· ·So that's just Oscar's comments to you?

   ·5· · · ·A.· ·Yeah.

   ·6· · · ·Q.· ·Yeah.· Okay.

   ·7· · · · · · Did you -- after the call was over, did

   ·8· ·you discuss the termination of either Linear or

   ·9· ·Bradley?

   10· · · ·A.· ·Yeah.· We were -- since we were one

   11· ·vote down, wasn't -- there really wasn't much we

   12· ·would do.· We had -- we had liked Linear.· We

   13· ·liked the work Chief Bradley had did and there

   14· ·was nothing we could have done.· We tried to

   15· ·talk to the other trustees, but they didn't want

   16· ·to listen.

   17· · · ·Q.· ·So the other three trustees who were

   18· ·back in the village, did they -- did you

   19· ·actually talk to any of them?

   20· · · ·A.· ·Talked to Trustee Brown.

   21· · · ·Q.· ·That's Larry Brown?

   22· · · ·A.· ·Larry Brown, right.· He didn't -- and

   23· ·Trustee Payton didn't want -- they didn't want

   24· ·to listen.



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   ·1· · · ·Q.· ·Did it appear that Trustee Larry Brown

   ·2· ·was aware of Oscar Brown's concerns and legal

   ·3· ·analysis?

   ·4· · · ·A.· ·Yes.· Yes, they were at the meeting.

   ·5· ·They were at the meeting when they terminated.

   ·6· · · ·Q.· ·Now, were you ever contacted by

   ·7· ·Mayor Covington by telephone about Bradley's

   ·8· ·termination?

   ·9· · · ·A.· ·No.

   10· · · ·Q.· ·What about by e-mail?

   11· · · ·A.· ·No.

   12· · · ·Q.· ·Were you ever contacted by any other

   13· ·trustee by telephone about Bradley's

   14· ·termination?

   15· · · ·A.· ·No, sir.

   16· · · ·Q.· ·No contact by e-mail by any other

   17· ·trustee about Bradley's termination?

   18· · · ·A.· ·No, sir.

   19· · · ·Q.· ·Now, is Oscar Brown an attorney,

   20· ·Trustee Brown?

   21· · · ·A.· ·Yes.

   22· · · ·Q.· ·In May of 2015, was he the attorney for

   23· ·the University Park?

   24· · · ·A.· ·No, no.



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   ·1· · · ·Q.· ·And to your knowledge, during your time

   ·2· ·on the board of trustees, was Oscar Brown ever

   ·3· ·the attorney for the University Park?

   ·4· · · ·A.· ·No, sir.

   ·5· · · ·Q.· ·Did you see Oscar Brown's legal

   ·6· ·analysis, his letter?

   ·7· · · ·A.· ·Yes.· I looked at it, yes.

   ·8· · · ·Q.· ·And that's an opinion from Oscar Brown

   ·9· ·about Ed Bradley's termination, correct?

   10· · · ·A.· ·Yes.

   11· · · ·Q.· ·And, to your knowledge, was that letter

   12· ·circulated or known to other trustees?

   13· · · ·A.· ·Yes.

   14· · · ·Q.· ·What other trustees, to your knowledge,

   15· ·knew about or saw the letter?

   16· · · ·A.· ·I know Trustee Roudez saw it.· I saw

   17· ·it.· And I believe -- I believe Larry Brown saw

   18· ·it, I believe.

   19· · · ·Q.· ·Do you know if it was circulated to the

   20· ·mayor?

   21· · · ·A.· ·I'm not sure.

   22· · · ·Q.· ·Do you have -- do you recall the mayor

   23· ·making any comments about Oscar Brown writing a

   24· ·letter saying that she's doing this wrong?



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   ·1· · · ·MR. WALL:· You mean Linear wrong?

   ·2· ·BY MR. MORAN,

   ·3· · · ·Q.· ·Well, doing Ed Bradley wrong --

   ·4· · · ·MR. WALL:· We'll clear that up.

   ·5· · · ·THE WITNESS:· You know, I'm sorry.· I'm

   ·6· ·sorry.· She says such wacko things.· I'm sorry.

   ·7· ·Rephrase the question, please.· Not rephrase,

   ·8· ·but restate the question for me, please.

   ·9· · · ·MR. MORAN:· Can you read that question back.

   10· · · · · · · · · ·(Whereupon, the record was read

   11· · · · · · · · · · as requested.)

   12· · · ·THE WITNESS:· Yeah.

   13· · · · · · Anybody that doesn't agree with the

   14· ·mayor can take a walk off a short pier.· She --

   15· ·she called Oscar a "Cracker Jack lawyer."· She

   16· ·wondered did he have a -- really had a -- did he

   17· ·really have a law degree and that Oscar doesn't

   18· ·know what he's talking about.

   19· ·BY MR. MORAN:

   20· · · ·Q.· ·Where did she make these comments?

   21· · · ·A.· ·Of course, again, before a board

   22· ·meeting.

   23· · · ·Q.· ·Do you recall what board meeting?

   24· · · ·A.· ·No, sir.



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   ·1· · · ·Q.· ·But it was after the termination of

   ·2· ·Linear, Mr. Linear and Mr. Bradley?

   ·3· · · ·A.· ·Yes.

   ·4· · · ·Q.· ·Could it have been in the fall --

   ·5· · · ·A.· ·September -- September or October

   ·6· ·maybe.

   ·7· · · ·Q.· ·2015?

   ·8· · · ·A.· ·Yes.· September, October.

   ·9· · · ·Q.· ·Since these events, has the mayor made

   10· ·any other comments about the terminations of

   11· ·Linear or Mr. Bradley, to your knowledge?

   12· · · ·A.· ·Not that I know of.

   13· · · ·Q.· ·Did you ever receive any kind of a

   14· ·communication from the village regarding

   15· ·Mr. Bradley being dismissed as chief of police?

   16· ·Newsletters, e-mails, anything of that nature?

   17· · · ·A.· ·I think -- I think an e-mail.             I

   18· ·believe Bola sent an e-mail.· And I think that

   19· ·something was in that newsletter they used to

   20· ·send out stating that we have a new police

   21· ·chief.· And that was it.

   22· · · ·Q.· ·So it never said that -- never said why

   23· ·Mr. Bradley was dismissed from his position?

   24· · · ·A.· ·No.



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   ·1· · · ·Q.· ·Are you aware of either the board or

   ·2· ·the mayor ever telling Mr. Bradley why he was

   ·3· ·dismissed, in writing?

   ·4· · · ·MR. WALL:· Other than the exhibit to your

   ·5· ·complaint?

   ·6· ·BY MR. MORAN:

   ·7· · · ·Q.· ·Other than the exhibit to my complaint?

   ·8· · · ·A.· ·No.

   ·9· · · ·Q.· ·Were you involved with a program

   10· ·involving purchasing toys from Toys R Us?

   11· · · ·A.· ·Toys?

   12· · · ·Q.· ·Toys.

   13· · · ·A.· ·Yeah.

   14· · · ·Q.· ·And explain the program.

   15· · · ·MR. WALL:· Objection.· Relevance.

   16· · · · · · You can go ahead and answer.

   17· · · ·THE WITNESS:· It's a -- it's a program that

   18· ·we would have every year before the holiday for

   19· ·kids who were less fortunate in the village.

   20· ·And we would take them to Toys R Us to buy them

   21· ·toys.

   22· · · · · · And Chief Bradley was instrumental in

   23· ·that.· He would donate not only his time, his

   24· ·money also, to help -- to make sure that less



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   ·1· ·fortunate children in the village would have

   ·2· ·something up under their tree for Christmas.

   ·3· ·BY MR. MORAN:

   ·4· · · ·Q.· ·So he would actually take money out of

   ·5· ·his own pocket and put it into the program too?

   ·6· · · ·A.· ·Absolutely.

   ·7· · · ·Q.· ·Now, as a trustee, are you required to

   ·8· ·live in University Park?

   ·9· · · ·A.· ·Yes.

   10· · · ·Q.· ·And you do live in University Park?

   11· · · ·A.· ·Yes.

   12· · · ·Q.· ·And Chief Bradley lives in University

   13· ·Park?

   14· · · ·A.· ·Yes.

   15· · · ·Q.· ·How many people, approximately, live in

   16· ·University Park?

   17· · · ·MR. WALL:· Objection.· Relevance.

   18· · · · · · You can go ahead and answer.

   19· · · ·THE WITNESS:· About 73, 7400.

   20· ·BY MR. MORAN:

   21· · · ·Q.· ·And people talk to each other about

   22· ·public events, including terminations?

   23· · · ·MR. WALL:· Objection.· Calls for speculation

   24· ·as to what 7,400 people can say.



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   ·1· · · · · · But you can go ahead and answer to the

   ·2· ·best of your knowledge.

   ·3· · · ·THE WITNESS:· Yes.

   ·4· ·BY MR. MORAN:

   ·5· · · ·Q.· ·In your going around the village of

   ·6· ·University Park, have people asked you questions

   ·7· ·about the termination of Chief Bradley?

   ·8· · · ·A.· ·Yes.

   ·9· · · ·Q.· ·What do they generally want to know, if

   10· ·you recall?

   11· · · ·MR. WALL:· Objection.· Form, foundation as to

   12· ·generally know --

   13· · · ·THE WITNESS:· Why was he --

   14· · · ·MR. WALL:· -- which specific people at which

   15· ·specific time.

   16· · · · · · You can go ahead and answer.

   17· · · ·THE WITNESS:· Why was he terminated.· A lot

   18· ·of them like him.· I mean, they liked what he

   19· ·was doing.· He was out there all the time.

   20· ·Whatever the problem was, he would take care of

   21· ·it.

   22· ·BY MR. MORAN:

   23· · · ·Q.· ·Do you recall any specific person and

   24· ·place that someone raised that question with



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   ·1· ·you?· Someone that you knew had asked about

   ·2· ·Chief Bradley and why was he dismissed?

   ·3· · · ·A.· ·A lady on my block, Ms. Gray.· Ms. Gray

   ·4· ·asked.

   ·5· · · ·Q.· ·She asked you?

   ·6· · · ·A.· ·Yes.

   ·7· · · ·Q.· ·And do you recall approximately when

   ·8· ·she asked you?

   ·9· · · ·A.· ·This was about last of October, maybe

   10· ·in November.

   11· · · ·Q.· ·And was anybody else around when she

   12· ·asked you that?

   13· · · ·A.· ·My wife and a neighbor across the

   14· ·street, Mr. Turner, I believe.

   15· · · ·Q.· ·Do you recall what you told her?

   16· · · ·A.· ·Yeah.· I just told her that he wasn't

   17· ·to the mayor's liking, so that's why he was

   18· ·dismissed.

   19· · · ·Q.· ·Were you a party to any conversations

   20· ·speculating that Mr. Bradley was dismissed for

   21· ·either some sort of criminal activity or theft

   22· ·or nonperformance of his duties?

   23· · · ·MR. WALL:· Objection to the form of the

   24· ·actual question asked.



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   ·1· · · · · · You can go ahead and answer.

   ·2· · · ·THE WITNESS:· No.

   ·3· · · ·MR. MORAN:· I turn the witness over to you,

   ·4· ·sir.

   ·5· · · ·MR. WALL:· Thank you.

   ·6· · · · · · · · · · · EXAMINATION

   ·7· ·BY MR. WALL:

   ·8· · · ·Q.· ·This conversation -- we'll just start

   ·9· ·from the back -- was not in your official

   10· ·capacity as a trustee, correct, the November

   11· ·conversation?· This was just neighbors talking?

   12· · · ·A.· ·Yes.

   13· · · ·Q.· ·Okay.· As neighbors are wanting to do,

   14· ·talk about what's going on in the village, world

   15· ·news, things along those lines?

   16· · · ·A.· ·Yes.

   17· · · ·Q.· ·And, in fact, you said he wasn't to the

   18· ·mayor's liking because you thought, in fact, he

   19· ·was a good cop?

   20· · · ·A.· ·Absolutely.

   21· · · ·Q.· ·So you didn't make any statement that

   22· ·he was unable to perform his profession,

   23· ·correct?

   24· · · ·A.· ·Correct.



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   ·1· · · ·Q.· ·Because you believe he's able to

   ·2· ·perform his profession at the time and now?

   ·3· · · ·A.· ·Correct.

   ·4· · · ·Q.· ·So it was your understanding that

   ·5· ·Mayor Covington was acting as the village

   ·6· ·manager until Bola Delano stepped in?

   ·7· · · ·A.· ·Yes.· But that's -- that's without the

   ·8· ·consent of the board, though.

   ·9· · · ·Q.· ·But you weren't present for that

   10· ·May 12th meeting, right?

   11· · · ·A.· ·No.· They had that meeting to fire him

   12· ·on May 17th or 18th, I believe.

   13· · · ·Q.· ·You'd defer to the village minutes as

   14· ·to when those actions were taken?

   15· · · ·A.· ·That was, I believe, on the 17th or

   16· ·18th that he was dismissed.

   17· · · ·Q.· ·Okay.

   18· · · ·A.· ·That they took action to get rid of

   19· ·Mr. Linear and Chief Bradley.

   20· · · ·Q.· ·And that's your recollection, right?

   21· · · ·A.· ·Correct.

   22· · · ·Q.· ·If you were confronted with documents

   23· ·that might would show otherwise, you would,

   24· ·maybe, tend to believe the documents?



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   ·1· · · ·A.· ·Yes.· But I remember getting a call on

   ·2· ·the 18th.

   ·3· · · ·Q.· ·Okay.· This trustee that formed the

   ·4· ·letter, he wasn't acting as the village attorney

   ·5· ·at that time, correct?

   ·6· · · ·A.· ·No.

   ·7· · · ·Q.· ·He was just acting as a trustee?

   ·8· · · ·A.· ·Yes.

   ·9· · · ·Q.· ·In his trustee capacity when he was

   10· ·talking to the board?

   11· · · ·A.· ·Yes.

   12· · · ·Q.· ·You were not a lawyer and you didn't

   13· ·review -- you might have read, but you did not

   14· ·formulate your own legal opinion as to

   15· ·whether -- what Trustee Brown said was correct,

   16· ·right?

   17· · · ·A.· ·He said he was quoting state law.· So I

   18· ·have to go along with what he said.· If he's

   19· ·quoting state law, then I'm going on what he

   20· ·said.

   21· · · ·Q.· ·If his state law is wrong, then he

   22· ·could be wrong?

   23· · · ·A.· ·True.

   24· · · ·Q.· ·There was a question about notice of



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   ·1· ·the meeting.· As I understand it, you are not

   ·2· ·aware if it was done -- the question, I think,

   ·3· ·might have been phrased a little bit weirdly.

   ·4· ·It was your understanding that notice might have

   ·5· ·been sent out, you don't know either way.

   ·6· · · · · · Is that fair?

   ·7· · · ·A.· ·Okay.· That could be fair.

   ·8· · · ·Q.· ·You just don't recall as you sit here?

   ·9· · · ·A.· ·Well, I guess because I'm out of town

   10· ·at the time, I don't know.· They may have sent

   11· ·it out.· They may not have sent it out.

   12· · · ·Q.· ·Okay.

   13· · · ·A.· ·I didn't get the letter.· I know

   14· ·Trustee Roudez didn't get it.· We both was in

   15· ·Vegas.

   16· · · ·Q.· ·The meeting with the state's attorney

   17· ·was not about the Chief Bradley, correct?

   18· · · ·A.· ·No.

   19· · · ·Q.· ·It was in no way connected with his

   20· ·termination, correct?

   21· · · ·A.· ·No.

   22· · · ·Q.· ·No, it was not?

   23· · · ·A.· ·No, it was not.

   24· · · ·Q.· ·It was about other issues that you and



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   ·1· ·some other trustees felt were occurring in the

   ·2· ·police department?

   ·3· · · ·A.· ·Correct.

   ·4· · · ·Q.· ·This discussion with Mr. Bradley and

   ·5· ·you and Trustee Roudez was an informal

   ·6· ·conversation, correct?· Not a village meeting?

   ·7· · · ·A.· ·Correct.

   ·8· · · ·Q.· ·You didn't have any authority to make

   ·9· ·any agreements, fair?

   10· · · ·A.· ·Fair.

   11· · · ·Q.· ·As to the investigations of the mayor,

   12· ·all your knowledge is through the grapevine,

   13· ·right?

   14· · · ·A.· ·Okay.

   15· · · ·Q.· ·What other people have told you --

   16· ·maybe let me ask it this way.

   17· · · · · · It's an out-of-court statement offered

   18· ·to prove the truth of the matter asserted.· Is

   19· ·that fair?

   20· · · ·MR. MORAN:· What does that mean?

   21· · · ·MR. WALL:· The statement was made --

   22· · · ·THE WITNESS:· Now, I don't understand that,

   23· ·now.

   24



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   ·1· ·BY MR. WALL:

   ·2· · · ·Q.· ·Let me phrase that.· The statement was

   ·3· ·made by other people to you, correct?· Or did

   ·4· ·you just hear -- how did you hear?

   ·5· · · ·A.· ·I'm not going to say.· I heard, though.

   ·6· ·A reliable source, I'll put it that way.· Just

   ·7· ·like I didn't know he knew some stuff.

   ·8· · · ·Q.· ·Trustee Brown, when he called you, he

   ·9· ·didn't tell you why.· He didn't say this

   10· ·specific case law, right?· He just said in his

   11· ·opinion as a village trustee, they were doing it

   12· ·wrong?

   13· · · ·A.· ·No, sir.· He said state law says you

   14· ·are supposed to go about it this way, he laid it

   15· ·out this way.· They are not doing that.

   16· · · ·Q.· ·And that was his opinion as a trustee?

   17· · · ·A.· ·He said he looked it up.

   18· · · ·Q.· ·I'm sure.· But at that point he wasn't

   19· ·employed as the attorney for the village?

   20· · · ·A.· ·Okay.· No.· Right.· He wasn't

   21· ·employed -- he was not employed as the attorney

   22· ·for the village.

   23· · · ·Q.· ·Okay.

   24· · · ·A.· ·He said he looked it up as a state law.



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   ·1· ·State law said they are supposed to do it this

   ·2· ·way.· He said it wasn't being done that way.· So

   ·3· ·I have to go along with him at the time of what

   ·4· ·he stated.

   ·5· · · ·Q.· ·And those statements by Trustee Payton,

   ·6· ·you didn't hear them, it was Trustee Brown

   ·7· ·relating those statements that Payton made to

   ·8· ·him to you?

   ·9· · · ·A.· ·Correct.· I stated that.

   10· · · ·Q.· ·Are you -- did Trustee Brown tell you

   11· ·that the letter or the opinion letter that he

   12· ·came up with mentioned Edward Bradley

   13· ·specifically?

   14· · · ·A.· ·No.· But that's who he was talking

   15· ·about.

   16· · · ·Q.· ·Okay.· But he didn't tell you "I

   17· ·prepared a memorandum regarding both the

   18· ·termination of Lafayette Linear and Edward

   19· ·Bradley," correct?

   20· · · ·A.· ·Correct.

   21· · · ·Q.· ·Are you aware that the letter does not

   22· ·mention Edward Bradley at all?

   23· · · ·A.· ·I'm unaware.

   24· · · ·Q.· ·And the only notice about the



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   ·1· ·termination that you're aware of of Mr. Bradley

   ·2· ·was that a possible e-mail sent from Bola and

   ·3· ·the newsletter that there was a new police

   ·4· ·chief, correct?

   ·5· · · ·A.· ·Correct.

   ·6· · · ·MR. WALL:· I don't have any further

   ·7· ·questions.

   ·8· · · ·MR. MORAN:· I have one or two to try and

   ·9· ·clarify.

   10· · · · · · · · ·EXAMINATION (FURTHER)

   11· ·BY MR. MORAN:

   12· · · ·Q.· ·In your nine years as a trustee, what

   13· ·kind of notice, in your judgment, is required

   14· ·before you dismiss a police chief?

   15· · · ·MR. WALL:· Objection as to the scope of time

   16· ·and the law.

   17· · · · · · But you can go ahead and answer.

   18· · · ·THE WITNESS:· You give notice.· You are

   19· ·supposed to have a hearing.· And that takes at

   20· ·least -- at least a month, maybe two, depending.

   21· ·But I never -- that's the way that it should

   22· ·have been done.

   23· ·BY MR. MORAN:

   24· · · ·Q.· ·And what kind of notice?· In writing?



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   ·1· · · ·A.· ·In writing.

   ·2· · · ·MR. WALL:· Objection.· Form.· Qualifications.

   ·3· · · · · · You can go ahead and answer.

   ·4· ·BY MR. MORAN:

   ·5· · · ·Q.· ·And is the writing sent to the

   ·6· ·trustees?

   ·7· · · ·A.· ·It's -- it's -- it's sent -- it's sent

   ·8· ·through, I believe the village manager sends it

   ·9· ·to the employee, she notifies the board.

   10· · · ·Q.· ·I think you testified earlier that your

   11· ·records show nothing in writing about a board

   12· ·meeting to dismiss either Mr. Linear or

   13· ·Mr. Bradley.

   14· · · ·A.· ·Correct.

   15· · · ·Q.· ·And, to the best of your knowledge, was

   16· ·Mr. Bradley invited by the board to address any

   17· ·charges against him?

   18· · · ·A.· ·No.

   19· · · ·Q.· ·Was Mr. Bradley given an opportunity to

   20· ·speak in his own defense at any time?

   21· · · ·A.· ·No.

   22· · · ·Q.· ·And that's just -- and to the best of

   23· ·your knowledge, was there a working -- in other

   24· ·words, a working board of police and fire



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   ·1· ·commissioners in May of 2015 at the village?

   ·2· · · ·A.· ·Yes.

   ·3· · · ·Q.· ·And they conduct their own proceedings.

   ·4· ·It has nothing to do with the trustees; is that

   ·5· ·correct?

   ·6· · · ·A.· ·Correct.

   ·7· · · ·Q.· ·In the conversation that you had in

   ·8· ·Las Vegas, you and Joe Roudez with Oscar Brown,

   ·9· ·did Ed Bradley's name come up in that

   10· ·conversation?

   11· · · ·A.· ·Yes.

   12· · · ·Q.· ·And was it in regard to Mr. Bradley's

   13· ·termination?

   14· · · ·A.· ·Correct.

   15· · · ·Q.· ·And did Oscar Brown tell you that

   16· ·Mr. Bradley's -- the way Mr. Bradley was

   17· ·terminated violated state law?

   18· · · ·A.· ·Correct.

   19· · · ·MR. MORAN:· No further questions.

   20· · · ·MR. WALL:· Just a couple follow-ups.

   21· · · · · · · · ·EXAMINATION (FURTHER)

   22· ·BY MR. WALL:

   23· · · ·Q.· ·He told you that he believed it

   24· ·violated state law, correct?



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   ·1· · · ·A.· ·Correct.

   ·2· · · ·Q.· ·So if he's wrong, it doesn't violate

   ·3· ·state law, fair?

   ·4· · · ·A.· ·Right.

   ·5· · · ·Q.· ·If he is misinterpreting the case law

   ·6· ·or misapplying the law, and the fact that he's

   ·7· ·not the village attorney, then his analysis is

   ·8· ·incorrect, fair?

   ·9· · · ·A.· ·Fair.

   10· · · ·Q.· ·You're, in fact, relying on

   11· ·Trustee Brown to tell you about an invitation

   12· ·speaking in the own defense because you were not

   13· ·present on the date that this incident occurred,

   14· ·fair?

   15· · · ·A.· ·Correct.

   16· · · ·MR. WALL:· I don't have any further

   17· ·questions.

   18· · · ·MR. MORAN:· One last question.

   19· · · · · · · · ·EXAMINATION (FURTHER)

   20· ·BY MR. MORAN:

   21· · · ·Q.· ·Do you feel like you should have been

   22· ·there if they're terminating both the village

   23· ·manager and the chief of police?

   24· · · ·MR. WALL:· Objection.



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   ·1· · · ·THE WITNESS:· I wish I could have been there,

   ·2· ·yes.· Why would you wait for a quarter of your

   ·3· ·board to go out of town before you do this.

   ·4· · · ·MR. WALL:· Objection.· Move to strike.

   ·5· ·BY MR. MORAN:

   ·6· · · ·Q.· ·Why did you wish you could have been

   ·7· ·there?

   ·8· · · ·MR. WALL:· Objection.· Calls for speculation.

   ·9· · · · · · You can go ahead and answer.

   10· · · ·THE WITNESS:· Maybe we could have talked some

   11· ·sense into them.· I think they hate they made

   12· ·the move, the wrong move.

   13· ·BY MR. MORAN:

   14· · · ·Q.· ·It would have been two more votes not

   15· ·to dismiss the two people; is that right?

   16· · · ·A.· ·Yeah, correct.

   17· · · ·MR. MORAN:· No further questions.

   18· · · · · · · · ·EXAMINATION (FURTHER)

   19· ·BY MR. WALL:

   20· · · ·Q.· ·You chose to go to Las Vegas willingly,

   21· ·correct?· You weren't forced to go, fair?

   22· · · ·A.· ·We went to try to procure businesses,

   23· ·economic development for the village, correct.

   24· · · ·MR. WALL:· Okay.· No further questions.



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   ·1· · · · · · You can reserve or waive your

   ·2· ·signature.· Reserve means that our court

   ·3· ·reporter is excellent and she got down

   ·4· ·everything you said.

   ·5· · · ·THE WITNESS:· Can I trust you?

   ·6· · · ·MR. WALL:· Sorry.· You can waive it and trust

   ·7· ·that she got everything you said or you can

   ·8· ·review it.· But you can't change a "yes" to

   ·9· ·"no," but if we spelled "Roudez" wrong, you can

   10· ·change that.

   11· · · ·THE WITNESS:· Can I trust you?

   12· · · ·MR. WALL:· Most people waive it.

   13· · · ·THE WITNESS:· Yes.

   14· · · ·MR. WALL:· Signature is waived.

   15· · · · · · · · · ·(Whereupon, the witness was

   16· · · · · · · · · · excused.)

   17· · · · · · · · · ·(The proceedings concluded at

   18· · · · · · · · · · 12:29 p.m.)

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   ·1· ·STATE OF ILLINOIS
   · · · · · · · · · · · · ·SS:
   ·2· ·COUNTY OF COOK

   ·3

   ·4· · · · · I, CHERYL L. SANDECKI, a Certified

   ·5· ·Shorthand Reporter within and for the State of

   ·6· ·Illinois, do hereby certify that heretofore,

   ·7· ·to-wit, on August 25, 2016, personally appeared

   ·8· ·before me, at 309 West Washington Street,

   ·9· ·Chicago, Illinois, KEITH GRIFFIN, in a cause now

   10· ·pending and undetermined in the United States

   11· ·District Court, wherein EDDIE RAY BRADLEY is the

   12· ·Plaintiff, and VILLAGE OF UNIVERSITY PARK, et

   13· ·al., are the Defendants.

   14· · · · · I further certify that the said

   15· ·KEITH GRIFFIN was first administered an oath to

   16· ·testify the truth, the whole truth and nothing

   17· ·but the truth in the cause aforesaid; that the

   18· ·testimony then given by said witness was

   19· ·reported stenographically by me in the presence

   20· ·of the said witness, and afterwards reduced to

   21· ·typewriting by Computer-Aided Transcription, and

   22· ·the foregoing is a true and correct transcript

   23· ·of the testimony so given by said witness as

   24· ·aforesaid.



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   ·1· · · · · I further certify that the signature to

   ·2· ·the foregoing deposition was waived by counsel

   ·3· ·for the respective parties and that there were

   ·4· ·present at the deposition the attorneys

   ·5· ·hereinbefore mentioned.

   ·6· · · · · I further certify that I am not counsel

   ·7· ·for nor in any way related to the parties to

   ·8· ·this suit, nor am I in any way interested in the

   ·9· ·outcome thereof.

   10· · · · · IN TESTIMONY WHEREOF:· I certify to the

   11· ·above facts this 2nd day of September, 2016.

   12

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   · · · · · · · · ·__________________________________
   17· · · · · · · ·CHERYL L. SANDECKI, CSR, RPR
   · · · · · · · · ·LICENSE NO.:· 084-03710
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                                                                                                        Page 1
                                             IN THE UNITED STATES DISTRICT COURT
                                                      NORTHERN DISTRICT OF ILLINOIS
                                                                     EASTERN DIVISION


                                   EDDIE RAY BRADLEY                                )
                                                                                    )
                                                        Plaintiff,                  )
                                                                                    )
                                     vs.                                            )   No.15-cv-08489
                                                                                    )
                                   VILLAGE OF UNIVERSITY PARK,                      )
                                   et al.,                                          )
                                                                                    )
                                                        Defendants.


                                                          The deposition of
                                   VIVIAN COVINGTON taken under oath VIA ZOOM at
                                   10:34 A.M. on Friday, July 24, 2020 pursuant to
                                   the Rules of the United States District Court,
                                   Northern District of Illinois, before Carol M.
                                   Siebert-LaMonica, C.S.R. No. 084.001355 in and
                                   for the County of Cook and State of Illinois,
                                   pursuant to notice.




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                                                                                                  Page 2
                           1       APPEARANCES:

                           2                 THE MORAN LAW GROUP, by

                           3                 MR. JOHN T. MORAN

                           4                 566 West Lake Street, Suite 101

                           5                 Chicago, IL              60661

                           6                 (J.t.m.moran@gmail.com)

                           7                                         And

                           8                 THE KELEHER APPELLATE LAW GROUP, LLC.

                           9                   MR. CHRISTOPHER KELEHER

                         10                    190 South LaSalle Street, Suite 2100

                         11                    Chicago, IL 60603

                         12                    (Ckeleher@appellatelawgroup.com)

                         13                               Appeared on behalf of the plaintiff;

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                                                                                                  Page 3
                           1                 PETERSON, JOHNSON & MURRAY CHICAGO

                           2                 MR. DOMINICK LANZITO

                           3                 200 West Adams, Suite 2125

                           4                 Chicago, IL               60606

                           5                 (Danzito@pjmchicago.com)

                           6                              Appeared on behalf of the defendants.

                           7

                           8       ALSO PRESENT:

                           9                            MR. EDDIE BRADLEY

                         10

                         11                                          - - - - -

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                                                                                                         Page 4
                           1                            MR. MORAN:         Let the record reflect

                           2       this is deposition of Ms. Vivian Covington in

                           3       the case of Bradley versus Village of

                           4       University Park, et al, Case No. 15 CV 08489.

                           5                                         And we are here pursuant to an

                           6       Amended Notice of Deposition.                    It is a remote

                           7       deposition.                The parties have agreed to a

                           8       remote deposition.

                           9                                         And we have been provided with a

                         10        Zoom login passwords and are present today

                         11        through Zoom, is that all correct?

                         12                             MR. LANZITO:         That's correct for the

                         13        defendants' counsel, this is Dominick Lanzito.

                         14                             MR. MORAN:          Thank you.

                         15                             MR. LANZITO:          I know your Notice of

                         16        Deposition required her to bring all of the

                         17        documents to her deposition.                    We are remote.

                         18                                     I can represent on the record she

                         19        reviewed the complaint with the attached

                         20        documents and her Answers to Interrogatories in

                         21        advance of today's deposition.

                         22                             MR. MORAN:         Okay.

                         23                             MR. LANZITO:         Your exhibits you are

                         24        going to attach.


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                                                                                                        Page 5
                           1                            MR. MORAN:        Okay.   Did you get the

                           2       exhibits I sent over this morning, just the two

                           3       letters and --

                           4                            MR. LANZITO:         And the full contract.

                           5                            MR. MORAN:        Yes.

                           6                            MR. LANZITO:        I acknowledge receipt.

                           7                            MR. MORAN:        Okay.

                           8

                           9                                         VIVIAN COVINGTON,

                         10        called as a witness herein, having been first

                         11        duly sworn, was examined and testified as

                         12        follows,

                         13                                     E X A M I N A T I O N

                         14        BY MR. MORAN:

                         15                  Q.         Ms. Covington, state your name for the

                         16        record?

                         17                  A.         Vivian E. Covington,

                         18        C O V I N G T O N.

                         19                  Q.         Thank you.        And this is going to take

                         20        a little bit longer because there is material

                         21        on top of everything, but hopefully we will get

                         22        through this.

                         23                                     Where do you presently work,

                         24        Ms. Covington?


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                                                                                                          Page 6
                           1                 A.         Department of Veterans Affairs, Hines,

                           2       Illinois, H I N E S.

                           3                            MR. MORAN:        I have to take a one

                           4       minute recess.                    Hang on, one second.

                           5                                    (Recess.)

                           6

                           7       BY MR. MORAN:

                           8                 Q.         So you are working for the U.S.

                           9       Department of Veterans Affairs?

                         10                  A.         Yes.

                         11                  Q.         Okay.        And how long have you been

                         12        there?

                         13                  A.         I've been in the federal government

                         14        42 years.

                         15                  Q.         Okay.        How long have you been with the

                         16        VA?

                         17                  A.         God, I think about, oh, 30 something,

                         18        38 maybe.

                         19                  Q.         And where do you go to work for the

                         20        VA?

                         21                  A.         Currently I'm working remote, but I go

                         22        to Hines, Illinois when I'm on site.

                         23                  Q.         Okay.        Do you live in University Park?

                         24                  A.         Yes.


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                                                                                                       Page 7
                           1                 Q.         Okay. How long have you lived there?

                           2                 A.         22 -- well, actually I had a home

                           3       built -- about 23 years approximately.

                           4                 Q.         Okay.        Are you presently holding any

                           5       elective office for University Park?

                           6                 A.         No.

                           7                 Q.         Are you presently appointed to any

                           8       commissions or legislative or governing bodies

                           9       in University Park?

                         10                  A.         No.

                         11                  Q.         In the past is it correct that you

                         12        were Mayor of University Park?

                         13                  A.         Yes.

                         14                  Q.         And were you also a trustee of

                         15        University Park in the past?

                         16                  A.         Yes.

                         17                  Q.         Okay.        When was -- when -- what was

                         18        the timeframe of your last position as Mayor,

                         19        from what year to what year did it run?

                         20                  A.         2011 to 2019, two terms.

                         21                  Q.         Okay.        Were they consecutive?

                         22                  A.         Yes.

                         23                  Q.         They were consecutive?

                         24                  A.         Yes.


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                                                                                                          Page 8
                           1                 Q.         Have you had occasion to review any

                           2       documents to prepare for your deposition today?

                           3                 A.         Yes.

                           4                 Q.         And what did you go over?        What

                           5       documents did you look at?

                           6                 A.         The letter from Mr. Brent to

                           7       Mr. Bradley, two letters.                   And the complaint

                           8       and two letters.

                           9                 Q.         Now, one of those two letters I didn't

                         10        attach as the exhibits, but do you recall that

                         11        letter from Oscar Brown?

                         12                  A.         Pardon me?

                         13                  Q.         One of the letters was from Oscar

                         14        Brown, did you notice that?

                         15                  A.         It was to Oscar Brown you say?

                         16                  Q.         No, it was from Oscar Brown.

                         17                  A.         No, I don't have that.

                         18                  Q.         Okay.        I sent it to your counsel

                         19        today.

                         20                             MR. LANZITO:         For the record I don't

                         21        believe that was attached to the complaint with

                         22        the exhibits.

                         23                             MR. MORAN:        No, it wasn't attached to

                         24        the complaint.                    It was in the record though.


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                                                                                                         Page 9
                           1                            MR. LANZITO:        I haven't sent it to

                           2       her yet.             Do you want me to send it to her?

                           3       I can.

                           4                            MR. MORAN:       Yes.

                           5                            MR. LANZITO:       Which one are we looking

                           6       at first then?

                           7                            MR. MORAN:        We will look at in a

                           8       second here.

                           9                            MR. LANZITO:        Is it going to be

                         10        marked with an exhibit number, John?

                         11                             MR. MORAN:        The next Exhibit Number,

                         12        Ms. Court Reporter, 8 or 9.

                         13                                           (Deposition Exhibit No. 1-10 was

                         14                                            referred to.)

                         15        BY MR. MORAN:

                         16                  Q.         Okay.        Ms. Covington, take a look at

                         17        what's been marked as Exhibit 8 and tell me if

                         18        you recognize the document?

                         19                  A.         Give me a minute.

                         20                  Q.         Sure.

                         21                             MR. LANZITO:        Is everyone seeing it?

                         22                             MR. MORAN:        That is the Oscar Brown

                         23        letter.

                         24                             MR. LANZITO:        Is that what you want?


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                                                                                                       Page 10
                           1                            MR. MORAN:        Yes.

                           2                            MR. LANZITO:        This one will be

                           3       Exhibit 9.               Maxine Jackson letter.

                           4                            MR. MORAN:        That's what I have two

                           5       questions about.

                           6                            MR. LANZITO:       Dated June 10, 2015, for

                           7       the record this will be Exhibit 9.

                           8                            MR. MORAN:        Right.

                           9                            MR. MORAN:        Let me know if you have

                         10        had a chance to read the letter.

                         11                             THE WITNESS:       I'm reading it now.

                         12        BY MR. MORAN:

                         13                  Q.         Okay.

                         14                  A.         Okay.

                         15                  Q.         Okay.        Do you recognize the letter?

                         16                  A.         I'm reading it.       I don't recall.

                         17                  Q.         You don't recall it.

                         18                                     Is that your name on the

                         19        letterhead to the left side of the letter?

                         20                  A.         My name is on all of the letterheads.

                         21                  Q.         Lists you as Mayor, is that correct?

                         22                  A.         Yes.

                         23                  Q.         And are the names under Board of

                         24        Trustees, correct, for June 10, 2015?


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                                                                                                        Page 11
                           1                 A.         Yes.

                           2                 Q.         Okay.        And the letter references

                           3       another letter sent apparently by you or by

                           4       your authorization to Mr. Bradley, is that

                           5       correct?

                           6                 A.         I'm sorry.       What did you say now?

                           7                 Q.         I said this letter references a letter

                           8       of termination that was sent to Mr. Bradley?

                           9                 A.         Apparently so.

                         10                  Q.         Okay.        And do you agree with the

                         11        conclusion in the letter that "the contract

                         12        conferred no rights, imposed no duties and

                         13        afforded no protection"?

                         14                             MR. LANZITO:        Objection.

                         15                             THE WITNESS:       I don't recall.

                         16        BY MR. MORAN:

                         17                  Q.         You don't recall. Okay.       And who is

                         18        Maxine Jackson?

                         19                  A.         At that time she was the HR person.

                         20                  Q.         Okay.        How long had she been in that

                         21        position on June 10th of 2015?

                         22                  A.         Oh, my God, you are really asking

                         23        a lot right now. I can't remember if she was

                         24        there. I can't remember the date how long she


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                                                                                                     Page 12
                           1       had been there.

                           2                 Q.         Okay.

                           3                 A.         Sorry about that.     I can't.

                           4                 Q.         Had she been there for at least a

                           5       couple of weeks before the 15th of June, before

                           6       the 10th of June of 2015?

                           7                 A.         I'm pretty sure of that.

                           8                 Q.         Look at Exhibit 8, which is the Oscar

                           9       Brown letter.

                         10                             MR. LANZITO:    This one, John, so we

                         11        are on the same page.

                         12                             THE WITNESS:   Yes.

                         13                             MR. MORAN:   Yes.

                         14                             MR. LANZITO:    Can you see that one?

                         15                             THE WITNESS:   Barely.

                         16                             MR. LANZITO:   I will zoom in and move

                         17        it around for everybody.

                         18                             THE WITNESS:   Great.    Thank you.

                         19        Okay.

                         20        BY MR. MORAN:

                         21                  Q.         Are you familiar with this letter?

                         22                  A.         Let me read it, please.

                         23                  Q.         Sure.

                         24                  A.         I don't recall it, maybe he did.


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                                                                                                     Page 13
                           1       I can't recall if he sent this out.                  A lot was

                           2       done that was part of the legislative

                           3       committee, so I don't know if I saw it or not.

                           4       I might have, he sent it to me, so apparently I

                           5       read it.             I don't recall.

                           6                 Q.         Okay.        The letter is addressed to

                           7       yourself and the other Board of Trustees,

                           8       members, is that correct?

                           9                 A.         Uh-uh.

                         10                  Q.         Is that a yes?

                         11                             MR. LANZITO:        Keep your voice up.

                         12                             THE WITNESS:       Yes.

                         13        BY MR. MORAN:

                         14                  Q.         Okay.        Does Mr. -- does Trustee Brown

                         15        suggest that Mr. Bradley might have a property

                         16        interest in his position?

                         17                  A.         I can't answer that.

                         18                  Q.         Well, what does he say in the text of

                         19        his letter, if you want to just read the

                         20        letter?

                         21                  A.         You want me to read the letter?

                         22                  Q.         Yes.

                         23                  A.         Due to the way the meeting was posted

                         24        and Mr. Linear's property interest in his job,


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                                                                                                      Page 14
                           1       no action should be taken by the Village Board

                           2       today.           The following are points to consider:

                           3                                    Notice may not have been given to

                           4       registered news media outlets with the Village

                           5       of University Park as required in state

                           6       legislation, Illinois, acronym for that,

                           7       furthermore the duties of the clerk's office

                           8       were circumvented in violation of our local

                           9       ordinance Section 239-03(b).

                         10                                     Mr. Linear may have property

                         11        interest in his job as Village Manager and

                         12        should be afforded due process in any

                         13        termination determination.

                         14                                     Based on the previous two points,

                         15        if action is taken by the Village Board today,

                         16        it is possible we may be held personally liable

                         17        for our action, furthermore we could subject

                         18        the Village to additional liability under the

                         19        section.             That's it.

                         20                  Q.         I see.       Okay.   So you are assuming you

                         21        have read it but you can't remember it, is that

                         22        correct?

                         23                  A.         No, it has been a while.

                         24                  Q.         Okay.        Now you said you read a copy of


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                                                                                                         Page 15
                           1       the complaint in this case, did you read a copy

                           2       of the combined answer of the Village and

                           3       yourself in the case?

                           4                 A.         Vaguely.       Yes, I glanced at it. Yes.

                           5                 Q.         Okay.        And --

                           6                 A.         This right here.         (Indicating.)

                           7                            MR. LANZITO:          Okay.   Let me find it.

                           8                            THE WITNESS:          What are you referring

                           9       to?       Yes.         Are you referring to this one?

                         10                             MR. MORAN:        Yes.

                         11                             MR. LANZITO:          Filed in December of

                         12        2015.

                         13        BY MR. MORAN:

                         14                  Q.         Right, December 23, 2015, Document

                         15        Number 11 under this case number.

                         16                             MR. LANZITO:          What number is this

                         17        again?

                         18                             MR. MORAN:       I think it was Exhibit 7.

                         19                             MR. LANZITO:          Thank you.

                         20                             THE WITNESS:          Is this the one I

                         21        received, Dominick?

                         22                             MR. LANZITO:          For the record she

                         23        received the complaint with the exhibits that

                         24        were attached.


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                           1                            MR. MORAN:        This is an answer that

                           2       was submitted under your name and under the

                           3       Village's name by your previous attorney

                           4       Patrick Wall.

                           5                 Q.         I was just wondering if you had any

                           6       changes you wanted to make to your answer or

                           7       affirmative defenses?

                           8                            MR. LANZITO:        Other than what is

                           9       presently before the Court, John?

                         10                             MR. MORAN:        Yes.

                         11                             THE WITNESS:       That doesn't make sense

                         12        to me.           Whatever it is, it is.

                         13        BY MR. MORAN:

                         14                  Q.         Okay.        Now, what were your job

                         15        responsibilities as Mayor?

                         16                  A.         To do legislation and policy making.

                         17                  Q.         And in terms of policy making, were

                         18        you the final policy maker for the Village of

                         19        University Park when you were Mayor?

                         20                  A.         The Board, not me individually, the

                         21        Board.

                         22                  Q.         So you would -- how did it work did

                         23        you present policies to the Board of Trustees

                         24        or did they present them to you?


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                                                                                                     Page 17
                           1                 A.         Actually the Village Manager would

                           2       present things to us, and we would vote on it,

                           3       making sure that it was legal and correct and

                           4       in accordance to state statute, naturally,

                           5       that's it.

                           6                 Q.         Okay.        And you, I'm trying to get my

                           7       screen here to work properly, did you have

                           8       occasion at some point to participate in a

                           9       contract with plaintiff Eddie Bradley to be

                         10        Chief of the Village, is that correct?

                         11                  A.         No, the Village Manager is responsible

                         12        for that.              They do the interviewing of the

                         13        police -- Section 2205 -- I mean 20205 duties

                         14        regarding officers and departments, that's all

                         15        total for the Village Manager.                  We just approve

                         16        whatever.              They would hire them and bring it to

                         17        the Board.

                         18                  Q.         I see.       That's your --

                         19                  A.         We are managerial-type of government.

                         20        We are not strong Mayor.

                         21                  Q.         Okay.        Did you -- you signed off on

                         22        the written contract with Mr. Bradley, is that

                         23        correct?

                         24                  A.         The Board does.


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                           1                 Q.         Well, you signed your name, didn't

                           2       you?

                           3                 A.         Right, as the Village Manager, as the

                           4       President of the Board, yes, that's a part of

                           5       our minutes.

                           6                 Q.         Okay.

                           7                 A.         So once something is passed then I

                           8       sign all of the documents, codified ordinances,

                           9       that's what I signed, the ordinances those

                         10        approved.

                         11                             MR. LANZITO:        Do you want the exhibit

                         12        up any longer?

                         13                             MR. MORAN:        This.   You can take that

                         14        exhibit off right now.

                         15                             MR. LANZITO:        Okay.   Very good.

                         16        Put the contract up for Ms. Covington.

                         17        BY MR. MORAN:

                         18                  Q.         Okay.        If you go to the last page of

                         19        the contract, is that your signature?

                         20                  A.         It appears to be.

                         21                  Q.         Do you have any doubts about that?

                         22                  A.         Sometime, yep, but I don't think -- it

                         23        is not dated.

                         24                  Q.         I think there is a date on the very


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                           1       first page.

                           2                 A.         No, normally it is dated on the last

                           3       page over the date -- over the signature as

                           4       well.

                           5                 Q.         Okay.        Mr. Bradley apparently signed

                           6       it as well, is that correct?

                           7                 A.         It appears that he did.

                           8                 Q.         Okay.        And is it further -- is it

                           9       correct that Mr. Bradley worked in the position

                         10        as Chief of Police for some time?

                         11                  A.         His term, whatever he was hired under.

                         12                  Q.         Okay.        Did he work as Chief of Police

                         13        for --

                         14                  A.         Yes.

                         15                  Q.         Yes.         Okay.   Now, the Paragraph 4 of

                         16        the contract on the last page, do you see that

                         17        it says the Village may chose to terminate the

                         18        contract without cause at any time, do you see

                         19        that?

                         20                  A.         Yes, I see that.

                         21                  Q.         And shall notify Bradley in writing of

                         22        that decision and pay a termination fee equal

                         23        to four months salary of Bradley?

                         24                  A.         I see that.


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                                                                                                     Page 20
                           1                 Q.         Such a fee shall also be paid if the

                           2       term of this contract is declared to be

                           3       unenforceable as Bradley may have lost other

                           4       employment opportunities, do you see all of

                           5       that?

                           6                 A.         Yes, I did.

                           7                 Q.         Okay.        Do you know if any notice was

                           8       ever given to Bradley in writing?

                           9                 A.         I have to check with the Village

                         10        Manager on that. I didn't do it.

                         11                  Q.         You don't know?

                         12                  A.         I'm not sure.

                         13                  Q.         Okay.

                         14                  A.         I'm sure they did but -- they was

                         15        supposed to but -- I'm sure they followed

                         16        protocol.

                         17                  Q.         Okay.        Do you know if Mr. Bradley was

                         18        given an opportunity to speak to the Board of

                         19        Trustees regarding his termination?

                         20                  A.         I can't recall.       I can't recall if he

                         21        did or not.

                         22                  Q.         Do you know if the Village gave

                         23        Ed Bradley a pre-termination hearing with

                         24        notice of what the charges against him were?


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                                                                                                       Page 21
                           1                 A.         I can't recall.       Sorry, its been

                           2       awhile.

                           3                 Q.         Do you understand that the contract

                           4       provides he could be terminated with cause only

                           5       with proper written notice setting forth the

                           6       charges at least seven days prior to a hearing?

                           7                            MR. LANZITO:       Objection.   It calls for

                           8       a legal conclusion.                  You may answer.

                           9                            THE WITNESS:       I don't understand the

                         10        question.

                         11        BY MR. MORAN:

                         12                  Q.         Okay.        Could you repeat the question,

                         13        Ms. Court Reporter.

                         14                                     (Question read.)

                         15                  A.         I understand the clause.

                         16                  Q.         Okay.        Do you understand that's in his

                         17        employment contract with the Village of

                         18        University Park?

                         19                  A.         Apparently so.

                         20                  Q.         Okay.        And do you know if that clause

                         21        was fulfilled by the Village?

                         22                  A.         I do not.       The Village Manager handles

                         23        the day-to-day process.                  I don't do that.

                         24                  Q.         Who was the Village Manager in


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                                                                                                       Page 22
                           1       May 15th of 2015?

                           2                 A.         That was Bola Delano.

                           3                 Q.         You don't know whether or not she

                           4       complied with the contract?

                           5                 A.         That's not my job, that's her job,

                           6       wasn't my job.

                           7                 Q.         Do you know if Mr. Bradley ever

                           8       received any notice of the charges against him?

                           9                 A.         I didn't get into that, the day-to-day

                         10        process I did not get into.

                         11                  Q.         Wasn't he the Police Chief?

                         12                  A.         Yes, through the Village Manager.

                         13                  Q.         Okay.        Do you know if the Village

                         14        Board provided Bradley with a post-termination

                         15        hearing after he was terminated?

                         16                  A.         Again I don't recall that.          It would

                         17        be up to the Village Manager.

                         18                  Q.         Do you if Bradley was ever given an

                         19        opportunity to be heard before he was fired?

                         20                  A.         Village Manager's, job.

                         21                  Q.         Okay.        Was Bradley given an

                         22        opportunity -- excuse me.                  Was he ever given

                         23        severance pay?

                         24                  A.         I don't recall.       I'm sure if that was


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                                                                                                       Page 23
                           1       in the order, she would have done that.

                           2                 Q.         Did the Village feel that Bradley had

                           3       committed some sort of criminal conduct when

                           4       they terminated him?

                           5                            MR. LANZITO:        Objection.     You may

                           6       answer.

                           7                            THE WITNESS:       I don't recall that.

                           8       BY MR. MORAN:

                           9                 Q.         Okay.        Do you know if any Trustees or

                         10        Village employees have asked Bradley to come

                         11        back as Police Chief?

                         12                             MR. LANZITO:        Objection, foundation.

                         13        You may answer.

                         14                             THE WITNESS:       I don't know.

                         15        BY MR. MORAN:

                         16                  Q.         Have you heard that?

                         17                  A.         I'm not aware of that.

                         18                  Q.         Okay.        Was there a federal

                         19        investigation of the Village in 2015 and

                         20        thereafter?

                         21                  A.         Pardon me?

                         22                  Q.         Was there a federal investigation of

                         23        the Village?

                         24                  A.         I'm not aware of it.


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                                                                                                         Page 24
                           1                 Q.         So you don't know whether there was an

                           2       investigation and if there was an investigation

                           3       how it was resolved, is that correct?

                           4                 A.         A federal investigation on what?

                           5                 Q.         On Village financing.

                           6                 A.         We are always under investigation.

                           7       Everybody is always under investigation.

                           8       That's a moot question.

                           9                 Q.         Were you -- did you hold elective

                         10        office for any other municipalities before

                         11        University Park?

                         12                  A.         No.          I'm sorry.   Repeat that.

                         13                  Q.         I'm just asking.

                         14                  A.         Oh, no.

                         15                  Q.         Okay.         Do you have any knowledge as to

                         16        whether or not Eddie Bradley has failed to

                         17        mitigate damages in this case?

                         18                  A.         Again repeat that.

                         19                                     (Question read.)

                         20                             THE WITNESS:         No, I don't.

                         21                             MR. LANZITO:          Objection, form, calls

                         22        for a legal conclusion, for the record.                       Answer

                         23        can stand.

                         24                             THE WITNESS:         I have no knowledge.


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                                                                                                       Page 25
                           1       BY MR. MORAN:

                           2                 Q.         Do you have any knowledge as to what

                           3       administrative remedies Mr. Bradley has failed

                           4       to exhaust?

                           5                 A.         No.

                           6                            MR. LANZITO:        Calls for a legal

                           7       conclusion, form.

                           8       BY MR. MORAN:

                           9                 Q.         You said you have a trustee form of

                         10        government, is that correct?

                         11                             MR. LANZITO:        Objection,

                         12        mischaracterizes the testimony.                  You may

                         13        answer.

                         14                             THE WITNESS:       We have a

                         15        managerial-type of government.

                         16

                         17        BY MR. MORAN:

                         18                  Q.         Okay.        And you have a Board of

                         19        Trustees and a Mayor, correct?

                         20                  A.         Did you hear me?       I said yes.

                         21                  Q.         Oh, I didn't.       I'm sorry.   I didn't

                         22        hear you.              Okay.      Did the Board of Trustees

                         23        ever issue a call for you to resign as Mayor?

                         24                  A.         At what time?


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                                                                                                        Page 26
                           1                 Q.         Do you recall what year that was in?

                           2                 A.         Shortly after I was Mayor, I can't

                           3       remember the date.                      I can't remember the date.

                           4       I'm sorry.

                           5                 Q.         That's okay.          Did they have the power

                           6       to remove you from office?

                           7                 A.         No.          No.

                           8                 Q.         Okay.         Who -- in April, May and June

                           9       of 2015, do you recall who the Village

                         10        attorneys were that you worked with?

                         11                  A.         Oh, God, in 2015 there were more than

                         12        one. I think -- I can't remember, I think I

                         13        can't remember them.                     I think it was Odelson &

                         14        Sterk at one point, and they kept flipping

                         15        them, so I can't recall all of them. At one

                         16        point it was Odelson & Sterk I think it was.

                         17                  Q.         Do you recall if Felicia Frazier?

                         18                  A.         Oh, yes, that was Odelson & Sterk.

                         19                  Q.         Okay.         And what about Muller?

                         20                  A.         Yes. I remember him.

                         21                  Q.         He was not part of Odelson & Sterk,

                         22        right?

                         23                  A.         No, he was not.

                         24                  Q.         Did they work at the same time, Muller


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                                                                                                     Page 27
                           1       and Odelson & Sterk, if you recall?

                           2                 A.         I recall -- I don't know how close or

                           3       overlapping, but I think at one point they may

                           4       have overlapped.                  The Board was flipping them,

                           5       as I said.

                           6                 Q.         I see. Okay.       Do you recall being

                           7       deposed in a case involving Lafayette Linear?

                           8                 A.         I think I was. It has been a while.

                           9                 Q.         Okay.        Do you recall the name

                         10        Lafayette Linear?

                         11                  A.         Yes.

                         12                  Q.         And did he have a position with the

                         13        Village of University Park?

                         14                  A.         Village Manager.

                         15                  Q.         And when -- he was terminated, is that

                         16        correct?

                         17                  A.         No, there was another election, his

                         18        contract was up.

                         19                  Q.         Okay.        So as you recall his contract

                         20        being up, is that right?

                         21                  A.         Yes.

                         22                  Q.         And --

                         23                  A.         Shall I say expired.

                         24                  Q.         Who said he was fired?


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                                                                                                     Page 28
                           1                 A.         I said expired.

                           2                 Q.         Expired.       Oh, okay.   So the Village

                           3       did not fire Mr. Lanier, is that correct?

                           4                 A.         I don't recall that.

                           5                 Q.         So you don't recall?

                           6                 A.         No.

                           7                 Q.         Okay.        Does -- I just want to go over

                           8       a few things.

                           9                                    So you don't recall, you

                         10        personally don't recall giving any notice to

                         11        Ed Bradley of what he was charged with in terms

                         12        of his contract being terminated, is that

                         13        right?

                         14                             MR. LANZITO:        Objection to the form

                         15        of the question.                  You can answer.

                         16                             THE WITNESS:       Oh, you said as far

                         17        as -- no, it was up to the Village Manager if

                         18        she gave me something, that she was removing

                         19        him she was removing him. The Village Manager

                         20        does that again.

                         21        BY MR. MORAN:

                         22                  Q.         And as you indicated that -- what is

                         23        her name Bola?

                         24                  A.         Bola Delano.


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                                                                                                     Page 29
                           1                 Q.         Bola Delano was the Village Manager

                           2       then?

                           3                 Q.         Yes?

                           4                            MR. LANZITO:        Vivian, for the record

                           5       and the court reporter's transcript, can you

                           6       spell the first and last name.

                           7                            THE WITNESS:       B O L A.   D E L A N O.

                           8                            MR. LANZITO:       Thank you.

                           9       BY MR. MORAN:

                         10                  Q.         Okay.        My follow-up question then is,

                         11        where does Ms. Delano reside, where can she be

                         12        found?

                         13                  A.         I don't know her address.

                         14                  Q.         Does she live in University Park?

                         15                  A.         She does not, and she did not at the

                         16        time.

                         17                  Q.         And there is no residency requirement

                         18        there?

                         19                  A.         No, there isn't, not for the Village

                         20        Manager that is.

                         21                  Q.         Okay.        Do you know how long she was in

                         22        the Village Manager position after Mr. Lanier

                         23        was Village Manager?

                         24                  A.         It wasn't a year.       The Board removed


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                                                                                                      Page 30
                           1       her.

                           2                 Q.         Do you know why they removed her?           Why

                           3       they said they removed her, I should say?

                           4                 A.         She had a heavy voice, was one of

                           5       them.         It was frivolous to me.            It was a

                           6       frivolous cause, but I can't really understand

                           7       why she was removed.

                           8                 Q.         So by heavy voice you mean heavy

                           9       handed, they thought she was heavy handed

                         10                  A.         I don't know what -- the understanding

                         11        of the word, why they said that, I cannot

                         12        define that for them.

                         13                  Q.         Okay.        That's what they said then,

                         14        that's what you recall they said?

                         15                  A.         They said other things.

                         16                             MR. MORAN:       Okay.   Dominick, I would

                         17        like to take five minutes just to review my

                         18        notes, and I will probably end this rather

                         19        abruptly.

                         20                             MR. LANZITO:        Okay.   That's fine.

                         21        Just mute your video or stop your video.                    And

                         22        then when you come back I will come back.

                         23        Okay.         All right.

                         24                             MR. LANZITO:        Thank you.


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                                                                                                       Page 31
                           1                                    (Recess.)

                           2       BY MR. MORAN:

                           3                 Q.         Back on the record, Ms. Covington.

                           4                 A.         Yes.

                           5                 Q.         Hi.          You understand you are still

                           6       under oath, correct?

                           7                 A.         Exactly.

                           8                 Q.         Okay.         I have a few questions for you.

                           9                                    Have you ever attended any

                         10        employee relation classes, seminars or training

                         11        when you were Mayor of University Park?

                         12                  A.         Have I received -- repeat your

                         13        question.

                         14                  Q.         Any classes in employee relations,

                         15        training for being Mayor, any kind of training

                         16        at all, like employment discipline, did you

                         17        receive any training in that area?

                         18                  A.         Since I was the Mayor?

                         19                  Q.         Yes.

                         20                  A.         Yes.

                         21                  Q.         Okay.         What, do you recall, training

                         22        you got?

                         23                  A.         South Suburban Mayors and Managers,

                         24        they all have different seminars here and


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                                                                                                       Page 32
                           1       there.

                           2                 Q.         Okay.        So you went to several seminars

                           3       with them, is that correct?

                           4                 A.         Maybe one or two.       They didn't offer

                           5       that much.

                           6                 Q.         Okay.        Anything else that you recall?

                           7                 A.         A lot of trainings, that's what we do.

                           8       On my own but --

                           9                 Q.         Okay.

                         10                  A.         -- no personnel, different trainings.

                         11                  Q.         Are you presently or have you ever

                         12        been the member of a union?

                         13                  A.         Yes.

                         14                  Q.         Okay.        And what union is that?

                         15                  A.         It has nothing to do with the Village.

                         16                  Q.         Okay.        But what union is it?

                         17                             MR. LANZITO:        You can answer.

                         18                             THE WITNESS:       SEIU.

                         19        BY MR. MORAN:

                         20                  Q.         Okay.        And that's all with your

                         21        federal, your current employment, is that

                         22        correct?

                         23                  A.         Yes, it is.

                         24                  Q.         Okay.        Are you familiar with -- have


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                           1       you ever been on the Board of the union?

                           2                 A.         No.

                           3                 Q.         Okay.        Are you familiar with employee

                           4       contracts and contract language?

                           5                 A.         Vaguely.

                           6                            MR. LANZITO:        Form.   You can answer.

                           7                            THE WITNESS:       Vaguely.

                           8       BY MR. MORAN:

                           9                 Q.         Have you ever been part of a

                         10        negotiating team for contracts for anyone?

                         11                  A.         No.

                         12                  Q.         Okay.        Have you negotiated any

                         13        contracts yourself?

                         14                  A.         Nope.

                         15                  Q.         Did you have any negotiations with

                         16        Eddie Bradley on his contract?

                         17                  A.         Again managerial kind of government,

                         18        no.

                         19                  Q.         Okay.        Do you have insurance on your

                         20        home?

                         21                  A.         Excuse me?

                         22                  Q.         Do you have insurance on your home?

                         23                             MR. LANZITO:        You can answer.

                         24                             THE WITNESS:       Why is that relevant?       I


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                                                                                                   Page 34
                           1       don't think that's relevant.

                           2                            MR. LANZITO:    Are you talking a

                           3       certain type of insurance?

                           4       BY MR. MORAN:

                           5                 Q.         There is a defamation count,

                           6       homeowner's insurance covers it.

                           7                 A.         I don't think I have to reveal that.

                           8                            MR. LANZITO:    You can answer that.

                           9       Do you have homeowner's insurance, Vivian?                  You

                         10        can answer that, Vivian.

                         11                             THE WITNESS:   Yes, I do. That's

                         12        ridiculous.

                         13        BY MR. MORAN:

                         14                  Q.         Was an individual named Mel Davis

                         15        Chief of Police before Eddie Bradley was?

                         16                  A.         Yes.

                         17                  Q.         Was Mel Davis fired?

                         18                  A.         Yes.

                         19                  Q.         Were you Mayor then?

                         20                  A.         Yes.

                         21                  Q.         Did Mel Davis have a contract?

                         22                  A.         Yes.

                         23                  Q.         He did have a contract?

                         24                  A.         Yes, he did.   I'm pretty sure most of


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                                                                                                       Page 35
                           1       them do.

                           2                 Q.         Do you have -- why was he fired, do

                           3       you know?

                           4                 A.         The Board fired him.

                           5                 Q.         So they did it by Board resolution?

                           6                 A.         Pretty sure they did.

                           7                 Q.         Okay.        Did you give Mel Davis a

                           8       $25,000 severance check?

                           9                 A.         I didn't give him anything.       I don't

                         10        know what the negotiations was really.                  I'm not

                         11        familiar with it. I can't recall it.

                         12                  Q.         Okay.        So you personally didn't give

                         13        him anything?

                         14                  A.         Personally, no.

                         15                  Q.         Okay.        And you don't know whether he

                         16        had -- you are saying he did have a written

                         17        contract?

                         18                  A.         I don't recall.       I would have to check

                         19        with the Village Manager.

                         20                  Q.         Do you know who the Village Manager

                         21        was when Mel Davis was the chief?

                         22                  A.         I think it was Lafayette Linear, I

                         23        think.

                         24                  Q.         Okay.        Do you know whether Mel Davis


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                                                                                                       Page 36
                           1       was able to come before the Board at a regular

                           2       board meeting and address the Board concerning

                           3       his termination?

                           4                 A.         I don't recall.       Might have.     I can't

                           5       recall that.

                           6                 Q.         You don't recall if he was given a

                           7       $25,000 check?

                           8                 A.         I don't.       Might have.   I said it has

                           9       been awhile.

                         10                  Q.         If it was done was that because the

                         11        Board wanted it or because you wanted it or do

                         12        you have any thoughts on that?

                         13                  A.         None.

                         14                  Q.         Okay.        Do you recall that Chief

                         15        Bradley was hired at an emergency board meeting

                         16        on a Saturday morning?

                         17                  A.         I don't recall that, the date and time

                         18        might have been, I don't recall it.

                         19                  Q.         Okay.        You did not attend any

                         20        emergency meetings to hire Eddie Bradley, is

                         21        that correct?

                         22                  A.         I don't recall if I was there or not.

                         23        I normally don't miss any of my meetings.                     That

                         24        might have been called by the Legislature, I


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                           1       don't recall, but I'm sure you can find that on

                           2       our ordinance, if I was there or not.

                           3                 Q.         Do you recall who the chair of that

                           4       committee was back then?

                           5                 A.         Joseph Roudez, R O U D E Z.

                           6                 Q.         Do you recall a ratification vote at

                           7       the next official Board meeting for Eddie

                           8       Bradley as Police Chief?

                           9                 A.         What did you say?

                         10                  Q.         Do you recall a regular Village Board

                         11        of Trustees meeting at which Eddie Bradley's

                         12        being placed in the position of Police Chief

                         13        was ratified?

                         14                  A.         Yes, I'm pretty sure we did, when he

                         15        became Chief, we do that with all of them.

                         16                  Q.         Okay.        Did you vote yes or no?

                         17                  A.         I don't recall.

                         18                  Q.         You don't recall if you voted yes or

                         19        no?

                         20                             MR. LANZITO:        Objection, asked and

                         21        answered.              You can answer again.

                         22                             THE WITNESS:       You can review the

                         23        minutes, I can't recall.

                         24        BY MR. MORAN:


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                           1                 Q.         Okay.        Do you recall receiving a

                           2       letter from Eddie Bradley's attorneys

                           3       requesting proper notice of termination and

                           4       charges?

                           5                 A.         Probably got it.       I don't recall.

                           6                 Q.         You didn't respond to it, do you

                           7       recall why?

                           8                 A.         Probably gave it to the Village

                           9       Manager or our attorney.

                         10                  Q.         And at that point that would have been

                         11        Odelson & Sterk?

                         12                  A.         I don't know who it was at that point.

                         13        Probably was them.

                         14                  Q.         Would the Village Manager have been

                         15        Bola Delano?

                         16                  A.         Was she still there?       I'm not sure if

                         17        she was even still there.                  Her time was short

                         18        term.         We would have to look back in the

                         19        records for that and see who was the Village

                         20        Manager.

                         21                  Q.         Is it correct that several weeks

                         22        before Chief Bradley was fired that you

                         23        received a file containing material concerning

                         24        criminal investigations of felony theft of


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                           1       Village property?

                           2                 A.         Pardon me?

                           3                 Q.         Did you receive --

                           4                 A.         No.

                           5                 Q.         -- an envelope with such material in

                           6       it?

                           7                 A.         No.          Who did I get that from?

                           8                 Q.         So you don't recall any investigation,

                           9       any file suggesting there was an investigation

                         10        at all, is that correct?

                         11                  A.         No, I don't.

                         12                  Q.         Do you know a person named Irma

                         13        Holloway?

                         14                  A.         No, of the firm IRH.

                         15                  Q.         What does that stand for?

                         16                  A.         What is the name -- I forgot what the

                         17        acronym means.                    I have to go back in the files

                         18        and see what the acronym means.

                         19                  Q.         Do you presently have any kind of

                         20        relationship with her?

                         21                  A.         No, I don't.

                         22                  Q.         In the past she provided certain

                         23        services to the Village while you were Mayor?

                         24                  A.         Yes.


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                                                                                                       Page 40
                           1                 Q.         Okay.         What was she supposed to be

                           2       doing?

                           3                 A.         Her firm was supposed to be doing some

                           4       type of auditing, accounting for the firm, for

                           5       the Village.

                           6                 Q.         Were you the Mayor when she was first

                           7       hired to do this work for the Village?

                           8                 A.         Yes, I was.

                           9                 Q.         Okay.         Have you ever taken vacations

                         10        with her?

                         11                  A.         Excuse me.

                         12                  Q.         Have you ever taken vacations with

                         13        her?

                         14                  A.         No.          I didn't know her personally.

                         15                  Q.         Okay.

                         16                  A.         I didn't even hire her.

                         17                  Q.         Do you recall how many contracts you

                         18        signed with the Village while you were mayor?

                         19                  A.         I think there was one, I'm not sure,

                         20        she was brought on by the previous Mayor, which

                         21        was Johnna Thompson.

                         22                  Q.         Johnna?

                         23                  A.         J O N N A?

                         24                  A.         Yes. J O H N N A.


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                                                                                                     Page 41
                           1                 Q.         Okay.        And those -- you described the

                           2       services as being auditing and accounting

                           3       services, is that correct?

                           4                 A.         Yes, that's what they said they were.

                           5                 Q.         Okay.        IRH or Ms. Holloway were paid

                           6       under the contracts?

                           7                 A.         I know it was an astronomical amount,

                           8       close to 5 or $600,000.

                           9                 Q.         Would it be fair to say the Village

                         10        was millions of dollars in the red at that

                         11        time?

                         12                  A.         I don't know how, we were in the

                         13        negative, yes.

                         14                  Q.         You were in the negative?

                         15                  A.         The Village was, yes.       When I came on

                         16        board the Village was in the negative.

                         17                  Q.         Have you ever filed any paperwork or

                         18        documentation with the Board of Fire & Police

                         19        Commissioners of University Park since you

                         20        terminated Chief Bradley?

                         21                  A.         Have I filed any paperwork with them?

                         22                  Q.         Yes.

                         23                  A.         Such as what are you referring to?

                         24        No, I've never filed any paperwork.                  What are


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                                                                                                      Page 42
                           1       you referring to?                 What type of paperwork?

                           2       What do you mean?

                           3                 Q.         Presenting either giving charges for

                           4       somebody, a notice of charges?

                           5                 A.         No.

                           6                 Q.         Notice of hearing?

                           7                 A.         No.

                           8                            MR. LANZITO:      Let him finish his

                           9       question.

                         10        BY MR. MORAN:

                         11                  Q.         When you were Mayor were you given a

                         12        laptop computer by the Village?

                         13                  A.         Yes.

                         14                  Q.         Was that every taken by the FBI?

                         15                  A.         They went to the office, yes, and got

                         16        it.

                         17                  Q.         Did you ever have occasion to tell the

                         18        Will County Sheriff that someone was trying to

                         19        injure you or kill you?

                         20                  A.         Excuse me.     I don't see the relevance.

                         21                             MR. LANZITO:      John, what is this in

                         22        relation to, for the record?

                         23                             MR. MORAN:      For the record, it goes

                         24        to the witness' credibility.


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                                                                                                     Page 43
                           1                            MR. LANZITO:        Whether or not she got

                           2       an order of protection against a person.

                           3                            MR. MORAN:        No, I asked whether she

                           4       called the Will County Sheriff's Office to tell

                           5       them that someone was trying to kill her?                   Yes

                           6       or no?

                           7                            MR. LANZITO:        You can answer, Vivian.

                           8                            THE WITNESS:       No, I did not call Will

                           9       County and say somebody was trying to kill me.

                         10        BY MR. MORAN:

                         11                  Q.         Okay.        Did you make a similar

                         12        complaint to the University Park Police

                         13        Department?

                         14                             MR. LANZITO:        Objection to the form

                         15        of the question.                  You can answer.

                         16                             THE WITNESS:       Call the police

                         17        department and ask them and report that

                         18        somebody was trying to kill me?

                         19        BY MR. MORAN:

                         20                  Q.         That you were being threatened, yes?

                         21                  A.         No, I called Will County.       I did not

                         22        call University Park.

                         23                  Q.         When you called Will County, what did

                         24        you tell them?


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                                                                                                      Page 44
                           1                 A.         They were there on the scene.

                           2                 Q.         The scene where this happened, this

                           3       threat?

                           4                 A.         Yes.

                           5                 Q.         Okay.        Did the threat take place in

                           6       University Park?

                           7                 A.         Yes.

                           8                 Q.         Did it take place in the context of

                           9       your official duties?

                         10                  A.         Yes.

                         11                  Q.         And who was the person who was making

                         12        the threat?

                         13                  A.         I don't see the relevance of this.

                         14                             MR. LANZITO:         You can answer, Vivian.

                         15                             THE WITNESS:         Mildred Morgan. Yes, I

                         16        had a restraining order.

                         17        BY MR. MORAN:

                         18                  Q.         I see.       Okay.   Do you live in the Will

                         19        County part of University Park?

                         20                  A.         Yes, I do.

                         21                  Q.         Okay.        Now, were you ever a trustee on

                         22        the University Park Board of Trustees?

                         23                             MR. LANZITO:         Objection, asked and

                         24        answered.              You can answer again.


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                                                                                                        Page 45
                           1                            THE WITNESS:       Yes.

                           2       BY MR. MORAN:

                           3                 Q.         Okay.        How many years were you a

                           4       trustee?

                           5                 A.         Eight years.

                           6                 Q.         And you were Mayor eight years, is

                           7       that correct?

                           8                 A.         Correct.

                           9                 Q.         Did -- who was the chairman of the

                         10        Fire & Police Commission in 2015 when you were

                         11        last Mayor?

                         12                  A.         It was Mr. Brooks.

                         13                  Q.         Is that Joseph Brooks?

                         14                  A.         Theaplise Brooks.

                         15                  Q.         Theaplise.       Okay.    Have you ever heard

                         16        of a whistleblower?

                         17                  A.         Yes, I have.

                         18                  Q.         Do you know what a whistleblower is?

                         19                  A.         Yes, I do.

                         20                  Q.         And what is a whistleblower?

                         21                  A.         Someone that shares information for

                         22        anything that's fraudulently done or they see

                         23        some theft being done on their job they can

                         24        report it, a whistleblower.


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                                                                                                     Page 46
                           1                 Q.         Okay.        Do you own a business?

                           2                 A.         No, I do not.

                           3                 Q.         Do you chair or are you a part of a

                           4       nonprofit?

                           5                            MR. LANZITO:        You can answer.

                           6                            THE WITNESS:       Do I chair -- what?     I'm

                           7       sorry, a business, no, I don't chair a

                           8       business.

                           9       BY MR. MORAN:

                         10                  Q.         Do you have a chair or any position

                         11        with a nonprofit?

                         12                  A.         That would be the Democratic Women.

                         13                  Q.         If it is nonprofit?

                         14                  A.         Yes.

                         15                  Q.         Okay.

                         16                  A.         Yes.

                         17                  Q.         Is there somebody else there, you keep

                         18        looking over to you right?

                         19                  A.         I'm looking in my mirror.

                         20                  Q.         Did you recall asking Lafayette Linear

                         21        to fire Chief Bradley?

                         22                  A.         I don't recall that.

                         23                  Q.         Would anything refresh your

                         24        recollection?


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                                                                                                     Page 47
                           1                 A.         No.

                           2                 Q.         Okay.        What -- in your mind what are

                           3       the duties of the Fire & Police Commission?

                           4                 A.         What they do is to interview incoming

                           5       officers, recruit officers, discipline officers

                           6       and firemen.                 Only officers, police officers

                           7       and firemen officers, firemen.

                           8                 Q.         What is the chair of that commission,

                           9       what is their responsibility or duty?

                         10                  A.         To oversee the committee to make sure

                         11        that they have their modules taken, and they

                         12        take their modules and learning as far as

                         13        education of what their duties are.

                         14                  Q.         What are modules?

                         15                  A.         Training, state required.

                         16                  Q.         Got you.

                         17                  A.         Uh-uh.

                         18                  Q.         And what is the duty of the Village

                         19        Manager then?

                         20                  A.         The Village Manager does the

                         21        day-to-day process.                  They are over all of the

                         22        directors and the chiefs of the Village and

                         23        they do the day-to-day processing, discipline,

                         24        they are supposed to respond to the residents


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                                                                                                      Page 48
                           1       and bring deliveries to the Board, contracts to

                           2       the Board, any negotiations, any interests,

                           3       economic interests or any development, they are

                           4       suppose to do that.

                           5                 Q.         I see.       So other than the Police and

                           6       Fire Departments, hiring and firing for the

                           7       Village is done through the Village Manager?

                           8                 A.         Yes. I think I gave you that

                           9       reference, that ordinance, yes, 2205.

                         10                  Q.         Yes.

                         11                  A.         Okay.

                         12                  Q.         Is there a disciplinary process for

                         13        sworn personnel in the police department?

                         14                             MR. LANZITO:       Objection, vague.      You

                         15        may answer.

                         16                             THE WITNESS:      I'm not aware of it.

                         17        BY MR. MORAN:

                         18                  Q.         Not really.

                         19                  A.         You said the discipline of the

                         20        officers?

                         21                  Q.         Well, you have sworn officers in the

                         22        police department?

                         23                  A.         Uh-uh.

                         24                  Q.         Is there -- I'm asking you what the


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                           1       disciplinary process is for those people who

                           2       are sworn?

                           3                 A.         I'm not aware.

                           4                 Q.         If you know.       If you know, if you

                           5       don't know you don't know.

                           6                 A.         I don't know.

                           7                 Q.         Okay.        What is a breach of contract in

                           8       your -- to you?

                           9                            MR. LANZITO:        Objection, calls for a

                         10        legal conclusion.                  You can answer if you know

                         11        as a lay person.

                         12                             THE WITNESS:       I don't know.

                         13        BY MR. MORAN:

                         14                  Q.         Okay.        Who do you have your home

                         15        insurance with?

                         16                             MR. LANZITO:        You can answer?

                         17                             THE WITNESS:       Who do I have my home

                         18        insurance with?

                         19                             MR. LANZITO:        Objection, foundation.

                         20        When?

                         21                             MR. MORAN:        Presently.

                         22                             THE WITNESS:       Liberty.    Can I ask a

                         23        question?

                         24                             MR. LANZITO:        No, he asks the


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                           1       questions, Vivian.

                           2                            THE WITNESS:       Okay.

                           3       BY MR. MORAN:

                           4                 Q.         Okay.        Did the FBI ever return your

                           5       laptop computer?

                           6                 A.         Yes, they did.

                           7                 Q.         How long did they have it?

                           8                 A.         I wasn't on site when they did it,

                           9       they came and got it.                  I think they said maybe

                         10        an hour, but I wasn't there.                    They took it from

                         11        the office.

                         12                  Q.         But it was away from you for at least

                         13        an hour?

                         14                  A.         From the office, yes.

                         15                  Q.         Yes.

                         16                  A.         Or more.       I'm not sure how long

                         17        exactly, I think maybe an hour.

                         18                  Q.         Got you.

                         19                  A.         Uh-uh.

                         20                  Q.         Have you ever been arrested or

                         21        convicted of a crime?

                         22                  A.         No.

                         23                  Q.         Okay.        Arrest would include anything,

                         24        just so you know, traffic or that sort of


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                                                                                                       Page 51
                           1       thing?

                           2                 A.         No, never got a ticket in my life.

                           3                 Q.         Okay.        Hang on one second here.

                           4                                    Did the Board give any specific

                           5       reason for the termination of Mel Davis, do you

                           6       recall?

                           7                 A.         I don't recall it.       It was something,

                           8       I don't know, I can't recall the details of it

                           9       to be honest.

                         10                  Q.         But you would have to look at the

                         11        notes of that meeting?

                         12                  A.         I would have to.

                         13                  Q.         And those would be the notes of the

                         14        Board of Fire & Police Commission, the minutes?

                         15                  A.         Not the fire and police.

                         16                  Q.         The Board of Trustees?

                         17                  A.         It was the Village Manager and the

                         18        Board and then he brought it to the Board of

                         19        Trustees.

                         20                  Q.         And your recollection it was probably

                         21        or likely Mr. Lanier who brought that to the

                         22        Board of Trustees?

                         23                  A.         Yes, most likely.

                         24                  Q.         Now, before Mr. Bradley was


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                                                                                                     Page 52
                           1       terminated, did you personally give him an

                           2       opportunity to be heard regarding his

                           3       termination?

                           4                            MR. LANZITO:        Objection, asked and

                           5       answered.              You can answer again.

                           6                            THE WITNESS:       I didn't deal with that,

                           7       that is the Village Manager.

                           8       BY MR. MORAN:

                           9                 Q.         So post or pre-termination none of

                         10        that would have gone through your -- would have

                         11        gone through you personally, is that what your

                         12        testimony is?

                         13                  A.         Correct.

                         14                  Q.         Okay.        Is there anything that would

                         15        refresh your recollection regarding pre or

                         16        post-termination actions?

                         17                  A.         Only the minutes.

                         18                  Q.         That again would be the minutes of the

                         19        Board of Trustees?

                         20                  A.         Right.       Right. Yes.

                         21                             MR. MORAN:       Okay.   Hang on one second

                         22        and then we will be concluding.

                         23                             MR. LANZITO:        Take five minutes.

                         24                             MR. MORAN:        Yes, let's take five.


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                           1                                         (Recess.)

                           2       BY MR. MORAN:

                           3                 Q.         Okay.         I just have three questions,

                           4       okay, Ms. Covington.

                           5                 A.         Yes.

                           6                 Q.         When the FBI took the computer, did

                           7       they tell anybody why they took it, did they

                           8       ever tell you?

                           9                 A.         No, they didn't talk to me about it.

                         10        I think they might have talked to the Village

                         11        Manager.

                         12                  Q.         Who was the Village Manager then?

                         13                  A.         I think it was Johnna Townsend.

                         14                  Q.         Johnna Townsend.         I see.

                         15                                     But they returned the computer at

                         16        some point the same day, is that right?

                         17                  A.         That's what I was told, yes.

                         18                  Q.         And did they tell you whether or

                         19        not -- did you ever tell you if they resolved

                         20        any investigation or whatever they were doing?

                         21                  A.         I have no knowledge.        I'm sorry.      I

                         22        have no knowledge of that.

                         23                  Q.         Okay.         Now, you mentioned a few times

                         24        that the Board of Trustees minutes would reveal


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                           1       certain information, what we are talking about

                           2       the discipline such as Mel Davis, would that be

                           3       a closed or open-door meeting?

                           4                 A.         I'm sure it would be an executive

                           5       session, if we had discipline it was always

                           6       executive.

                           7                 Q.         I didn't hear the rest.

                           8                 A.         I'm sorry.       That's all I said.   It was

                           9       an executive session.

                         10                  Q.         So that's a closed season basically?

                         11                  A.         Yes.

                         12                  Q.         Do you get copies of those minutes as

                         13        Mayor?

                         14                  A.         No, because that has to be reviewed

                         15        and brought up by the clerk and every six

                         16        months she is supposed to bring up the

                         17        executive sessions for the Board to vote on,

                         18        but we never did.                  She never did bring that up.

                         19                  Q.         Okay.        So you don't have any of these

                         20        minutes we are talking about?

                         21                  A.         No, sir.       I definitely don't have them

                         22        now.

                         23                  Q.         Okay.        Do you know who would have

                         24        them?


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                           1                 A.         The clerk.

                           2                 Q.         So the Village clerk, whoever that is.

                           3       Who is the Village clerk now?

                           4                 A.         Ms. Dee Jones has been there for 20

                           5       years.           Dolores, yes.       Dolores Jones.   She

                           6       references her name as Dee, D E E.

                           7                 Q.         Got you.     Ms. Covington, did you

                           8       personally tell Eddie Bradley not to come to

                           9       the village hall after he had been terminated?

                         10                  A.         No.

                         11                  Q.         So you never told him to stay away

                         12        from Village functions after his termination?

                         13                  A.         No, didn't see him.     Didn't see him.

                         14                             MR. MORAN:     Okay.   Okay.   I don't have

                         15        any further questions right now.

                         16                             MR. LANZITO:      We will reserve

                         17        signature.

                         18

                         19                             MR. MORAN:     Okay.   Thanks.

                         20                                          (Deposition was concluded at

                         21                                          12:00 P.M.)

                         22                                          -O-o-O-

                         23

                         24


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                           1       STATE OF ILLINOIS                    )

                           2                                            )   SS:

                           3             COUNTY OF COOK                 )

                           4                              The within and foregoing deposition

                           5       of the aforementioned witness was taken before

                           6       Carol M. Siebert-LaMonica, C.S.R, at the place,

                           7       date and time aforementioned.

                           8                              There were present during the taking

                           9       of the deposition the previously named counsel.

                         10                               The said witness was first duly sworn

                         11        and was then examined upon oral interrogatories;

                         12        the questions and answers were reported in

                         13        shorthand by the undersigned and transcribed

                         14        via computer-aided transcription.

                         15                               The within and foregoing is a true,

                         16        accurate and complete record of all of the

                         17        questions asked of and answers made by the

                         18        forementioned witness at the time and place

                         19        hereinabove referred to.

                         20                                          The signature of the witness was

                         21        not waived and the deposition was submitted

                         22        pursuant to Rules 207 and 211 (d) of the Rules

                         23        of the Supreme Court of Illinois to the

                         24        deponent per copy of the attached letter.


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                                                                                                        Page 57
                           1                              The undersigned is not interested in

                           2       the within case, nor of kin or counsel to any

                           3       of the parties.

                           4                              Witness my official signature in and

                           5       for Cook County Illinois on March 8, 2021.

                           6

                           7

                           8                                         Carol M. Siebert-LaMonica

                           9                                         C.S.R. No. 084.001355

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                                                          C O R R E C T I O N   P A G E

                                                          I made the following changes for the

                                   following reasons:

                                   PAGE LINE              CHANGE:

                                   ____ ____              ___________________________________

                                                            REASON: __________________________

                                   ____ ____              ___________________________________

                                                            REASON: __________________________

                                   ____ ____              __________________________________

                                                            REASON: __________________________

                                   ____ ____              ___________________________________

                                                            REASON: __________________________

                                   ____ ____              ___________________________________

                                                            REASON: __________________________

                                   ____ ____              ___________________________________

                                                            REASON: __________________________

                                   ____ ____              ___________________________________

                                                            REASON: __________________________

                                   ____ ____              ___________________________________

                                                            REASON: __________________________

                                   ____ ____              ___________________________________

                                                            REASON:



                                   (Signed)_______________________________


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                                                                WITNESS CERTIFICATION




                                                                     I hereby certify that I

                                   have read the foregoing transcript of my

                                   deposition consisting of Pages 1 through 62,

                                   inclusive.               Subject to the changes set forth on

                                   the preceding pages, the foregoing is a true

                                   and correct transcript of my deposition taken

                                   on July 24, 2020.




                                                                (Signed) ______________________




                                   SUBSCRIBED AND SWORN TO

                                   Before me this __ day of

                                   _________,2021.




                                   _____________



                                   Notary Public


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                                                                     Chicago, IL   60614



                                   March 8, 2021



                                   PETERSON, JOHNSON & MURRAY CHICAGO

                                             MR. DOMINICK LANZITO

                                             200 West Adams, Suite 2125

                                             Chicago, IL               60606

                                             (Danzito@pjmchicago.com)

                                   Re:       BRADLEY V VILLAGE OF UNIVERSITY PARK

                                             Dep:         VIVIAN COVINGTON



                                   Dear MR. LANZITO:

                                             The deposition testimony given on

                                   July 24, 2020 in the above captioned case has

                                   been transcribed, and inasmuch as signature was

                                   not waived, this is to advise that the

                                   deposition will be available in our office for

                                   30 days for reading and signing.

                                             If you choose to read and sign the

                                   deposition at our offices, please call the

                                   undersigned for an appointment.                     Our office


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                                   hours are from 9:00 a.m. to 4:00 p.m., Monday



                                   thru Friday.



                                                          If you choose to make other



                                   arrangements for the reading and signing of the



                                   deposition, please advise us of the



                                   arrangements you have made in writing with 30



                                   days from the date of this letter.




                                                                     Sincerely yours,

                                                                     Carol M. Siebert-LaMonica


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                                                                       I N D E X



                                   Witness:

                                   Examination



                                     VIVIAN COVINGTON




                                                          Mr. Moran                              5




                                                                     E X H I B I T S



                                   Number                                                 Page




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